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                          Exhibit 4
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig                 *     MDL NO. 2179
   “Deepwater Horizon” in the Gulf of           *
   Mexico, on April 20, 2010                    *     SECTION J
                                                *
                                                *
                                                *     HONORABLE CARL J.
                                                *     BARBIER
                                                *
                                                *     MAGISTRATE JUDGE
                                                *     SHUSHAN
                                                *


                    DECLARATION OF HENRY H. FISHKIND, Ph.D.


      I, Henry H. Fishkind, submit this declaration in support of the BP Defendants’

Memorandum In Support Of Motion For Final Approval Of Deepwater Horizon Economic

And Property Damages Settlement Agreement, As Amended On May 2, 2012. I am

over the age of 18; the opinions, statements and conclusions expressed in this

declaration are my own.

INTRODUCTION

      1.      My name is Henry H. Fishkind, Ph.D.

      2.      In this declaration, I offer opinions regarding the Economic Damage Claim

Frameworks, which include frameworks for Business Economic Loss Claims, Multi-

Facility Businesses, Start-Up Businesses, Failed Businesses, Failed Start-Up

Businesses, Individual Economic Loss Claims, and the Seafood Compensation Plan of

the Deepwater Horizon Economic And Property Damages Settlement Agreement, As

Amended On May 2, 2012 (“Settlement Agreement”).


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       3.      Except as otherwise indicated below, I have personal knowledge of the

facts stated herein. I did not personally participate in (i) drafting or preparing the

Settlement Agreement or its Frameworks; (ii) the settlement negotiations; or (iii)

advising any of the Parties whether to agree to the terms of the Settlement Agreement.


PROFESSIONAL QUALIFICATIONS AND EXPERIENCE

       4.      I am an economist with over 30 years of experience in economic analysis

and forecasting.     I am President of Fishkind & Associates, Inc., an economic and

financial consulting firm in Florida with offices in Orlando, Naples, and Port St. Lucie.

My clients in matters other than this case include state and municipal governments, the

U.S. Department of Justice, Fortune 500 Companies, property developers, and plaintiffs

and defendants in litigation.


       5.      I hold a Bachelor’s Degree in Economics from Syracuse University, and a

Ph.D. in Economics with specialties in Urban and Regional economics and in

Econometrics from Indiana University. My Curriculum Vitae is attached as Exhibit A.


       6.      My career began in the public sector where I worked as an economist and

associate professor at the University of Florida from 1975 to 1983.


       7.      For many years I was a Research Economist with the Bureau of Economic

and Business Research (“BEBR”) at the University of Florida.          In 1980, I became

Associate Director for Programs at BEBR. From time-to-time, I served as its Acting

Director. BEBR is an applied research center in the College of Business Administration

at the University of Florida. BEBR collects, analyzes and generates economic and

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demographic data on Florida; conducts economic and demographic research to inform

public policy and business decision making; and distributes data and research findings

throughout the state and the nation.             BEBR has published the Florida Statistical

Abstract each year since 1967. This award-winning research volume is the leading

source of statistical data on Florida, its cities and counties, providing information on

population, housing, employment, income, education, health, tourism, and much more.


       8.      At BEBR I conducted numerous surveys.             I designed, launched, and

administered BEBR’s monthly economic confidence index which involved sample

surveys of Floridians. I designed and executed BEBR’s economic forecasting program.


       9.      I have served on the Governor’s Council of Economic Advisors under two

different administrations, those of Governors Graham and Bush.


       10.     I began my private sector career in 1984 as President of M.G. Lewis

Econometrics, a wholly owned subsidiary of a municipal bond financing firm.


       11.     In 1987, I formed Fishkind & Associates as a full service economic and

financial consulting firm. We now have 29 professionals. Fishkind & Associates has

extensive experience in economic and fiscal impact analysis, forecasting and finance

throughout Florida and the United States. We provide regular economic forecasts for all

67 Florida counties.       We also manage three large-scale, master planned, Florida

communities, including the 8,000 acre Tradition project in Port St. Lucie, Florida.


       12.     Fishkind & Associates is involved in key financial advisory and consulting

roles to special districts, local governments, redevelopment agencies and real estate
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developers. In this capacity, the firm formulates financing plans, provides economic

advice and direction, and evaluates financing alternatives. The firm has participated in

structuring over $4 billion in infrastructure and municipal financings.


       13.     Fishkind & Associates conducts residential real estate feasibility research.

This involves price, product and supply analysis as well as extensive consumer

research and focus group studies. As a result, the firm has considerable skill in analysis

and interpretation of consumer preferences, behavior patterns and demographic trends.


       14.     Fishkind & Associates has performed large and complex cost-benefit

analyses. These include the 1991, 1993 and 1996 Military Base Closure process in the

United States, and currently the Florida Everglades Environmental Restoration Project.


       15.     Examples of some of the Florida Panhandle projects for which I have

provided economic analyses include: relocation of the Panama City International

Airport; Pier Park (a shopping and entertainment destination in Panama City Beach); a

Hilton Hotel feasibility study; Aqua Green (a marine life center in Panama City Beach);

and beach restoration in Okaloosa County.


       16.     I also have extensive experience consulting with the Visitor & Convention

Bureaus charged with promoting tourism in Florida and many other states. Included in

this experience is my work on Governor Jeb Bush’s Council of Economic Advisors and

working on promotional advertising programs after 9/11.            I also have performed

econometric studies quantifying the impact of advertising on tourism.



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      17.     I served as a founding board member for two publicly-traded real estate

development companies, Engle Homes and Summit Properties, until these companies

were sold. I also served as a board member of First National Bank in Winter Park,

Florida and Bank of the Islands in Sanibel until these banks were sold.


      18.     As a standard part of my business practice over the last 30 years, I have

monitored economic conditions in the entire Gulf Coast on a regular basis. This type of

comparative analysis of the Florida economy to the rest of the Gulf Coast is necessary

to support the day-to-day conduct of our research and business consulting activities. I

am therefore knowledgeable about the economic conditions in this region.


      19.     To monitor economic conditions, I regularly review a wide variety of

economic data related to the Gulf Coast region. The types of economic data that I

routinely review include data related to employment, income, residential and

commercial construction and leasing, tourism, and tax revenues at the state and local

levels. Specific data sources include, among other types of data:

            (a)     Smith Travel Research (“STR”) hotel and lodging data, which is the
      professional industry standard reference on hotel occupancy, rental rates, and
      associated statistics as well as hotel and lodging data published by Convention
      and Visitors’ Bureaus in the Gulf region;

              (b)   Navis reports concerning rental of vacation properties, which is one
      of the few survey-based sources of data on the resort rental industry;

             (c)    General state and local sales tax, lodging tax and other tax receipt
      reports, which provide data from public sources reflecting economic activity in a
      wide array of industries;

             (d)    Local, state and regional financial data and forecasts, which are
      public data showing the financial condition of the banking system;


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           (e)   Residential and commercial construction, leasing and sales reports,
     which are gathered from public sources and private surveys on the construction
     and development industries;

            (f)    Reports by the National Oceanic and Atmospheric Administration
     (“NOAA”) of the U.S. Department of Commerce concerning the seafood industry
     in the Gulf States, including industry surveys and data on seafood landings; and

              (g)    Business-specific data provided by ESRI and Info USA, which are
     private companies that re-package detailed data from the census and supplement
     it with their own proprietary information.

      20.     I am personally familiar with the geography of the Gulf Coast region.

During the past 30-years I have traveled extensively throughout the region for

professional and personal reasons. I am familiar with the tourism destinations, major

roads leading to those destinations, and major population centers.


      21.     I have served as an expert witness more than 50 times in the federal and

state courts in Florida and in federal courts in Tennessee and Washington, D.C. on

issues of valuation of businesses, evaluation of causation and damage allegations in

economic loss cases, on behalf of both plaintiffs and defendants. I have also served as

a court-appointed expert to provide valuation reports to the U.S. Tax Court.

MATERIALS AND INFORMATION REVIEWED AND CONSIDERED


      22.     I have reviewed the following documents, materials and data:

            (a)    The Settlement Agreement and Exhibits thereto, motions and
     related documents filed by Interim Class Counsel and BP in support of the
     Settlement Agreement, Judge Barbier’s Order preliminarily approving the
     Settlement, objections to the Settlement Agreement filed with the Court, and the
     Declarations of Mr. Daniel Balhoff, Mr. John Perry, Dr. Elliott Taylor, Dr. Alan
     Jeffery, Mr. Edward Wharton, and Dr. John Tunnell.

           (b)    Claim Forms, Instructions, Frequently Asked Questions and claims
     data published by the Deepwater Horizon Court-Supervised Settlement Program;

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             (c)     Data from the sources identified in paragraph 19, above.

      23.     It is my understanding, based on the motion papers in support of

Preliminary Approval of the Settlement, and Judge Barbier’s Preliminary Approval

Order, that the Settlement Agreement was the result of lengthy, arms-length

negotiations between experienced litigation counsel for plaintiffs and BP, which were

mediated by Magistrate Judge Shushan.           I further understand that the Parties had

conducted extensive discovery in the case and had the benefit of other work to develop

the facts.   These facts are relevant to my economic analysis of the Settlement

Agreement because they indicate that it represents the product of arms-length

negotiations between Parties with access to the information required to make informed,

rational economic decisions in attempting to resolve the large number of economic loss

claims of businesses and individuals presented in the Deepwater Horizon litigation.

These characteristics are consistent with the classical market-based type of

transactions that are freely entered into by knowledgeable participants and widely

recognized as fair and equitable.


SUMMARY OF OPINIONS


      24.     The    Economic       Damage      Claim   Frameworks   and   the   Seafood

Compensation Program applies well accepted economic methodologies that will result

in fair and adequate compensation for losses experienced by claimants due to the

Deepwater Horizon Spill (“DWH Spill”).




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      25.     The Frameworks and the Seafood Compensation Program are consistent

with well-established methodologies for determining whether an economic loss was

caused by an event and for quantifying that loss.


      26.     The Frameworks and Seafood Compensation Program use transparent

and objective methods, and provide clearly-defined standards to be applied to relevant

data supplied by the Claimant. This has at least two important implications.


                (a)     The clear criteria and requirements of the Frameworks and Seafood
      Compensation Program are fair to Claimants because they permit Claimants to
      evaluate their claims and the Settlement and make an informed judgment whether
      it is in their interest to participate or to opt out.

             (b)    The objective standards and express methodologies of the
      Frameworks and Seafood Compensation Program minimize Claims Administrator
      discretion, which helps to ensure that similarly situated Claimants are treated alike
      -- what economists refer to as horizontal equity.

      27.     The Tourism Definition, which is Exhibit 2 to the Settlement Agreement,

reflects a fair and reasonable application of North American Industry Classification

System (NAICS) codes, which are the standard definitions used by federal government

agencies and economists to collect, analyze and organize statistical data related to

businesses in the U.S. economy. The Charter Fishing definition, Section 38.18 of the

Settlement Agreement, accurately describes that industry.


      28.     The Seafood Distribution Chain Definitions, which are Exhibit 3 to the

Settlement Agreement, reflect a fair and reasonable effort to distinguish among levels of

the Seafood distribution chain beginning with commercial fishermen (who are

compensated through the Seafood Compensation Plan), then primary seafood industry


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participants and next secondary industry participants (both of which are compensated

through the Economic Damage Claim Frameworks).


        29.     The use of geographic zones depicted in the Economic Loss Zones map,

and accompanying definitions and classifications, (Exhibits 1A-1C of the Settlement

Agreement), for causation requirements and Risk Transfer Premiums (RTPs) for the

Economic Damage Claim Frameworks is consistent with economic logic. These zones

fairly reflect the nature of economic activity in the Gulf region.


        30.     The causation requirements of the Economic Damage Claim Frameworks

are transparent and consistent with economic logic and data regarding the economic

impact of the DWH Spill.


                (a)    The use of geographic and industry criteria to establish
        presumptions of causation for purposes of settlement is economically appropriate
        and promotes efficiency for both Claimants and claims administration. In
        particular, economic logic and available data support the Settlement’s use of
        presumptions of causation for individuals and businesses located close to the
        tourist beaches, or that are located slightly further from the beach but involved in
        Tourism, Charter Fishing and Seafood Distribution, because these industries are
        most likely to have been affected by the DWH Spill.

               (b)    Similarly, given the multiple factors that can affect economic
        performance, it is economically reasonable to require Claimants located further
        from the Gulf and in industries economically less connected to the Gulf to
        establish that any losses they suffered were caused by the DWH Spill and not by
        other factors affecting the economy generally -- such as, for example, the weak
        economy in 2010 or high unemployment -- or business-specific factors such as
        increased competition, poor business management or other factors.

        31.     The compensation calculation formulas in the Economic Damage Claim

Frameworks are consistent with well-established methodology for quantifying economic

loss.    In general, they rely on historical benchmark data supplied by the Claimant,

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supplemented by a growth factor, to determine what the Claimant’s predicted earnings

would have been. Those projected earnings during a Claimant-selected post-DWH spill

compensation period are compared to actual earnings during that period and the

difference is deemed a compensable loss. This “but for” analysis is the traditional

framework for analyzing economic loss. For Failed Business, the methodology of using

EBITDA to determine the pre-Spill value for the business is a traditional methodology

used for business valuations and for determination of losses.


       32.     Selection of the time period, May 1 to December 31, 2010, in the

Economic Damage Claim Frameworks and Seafood Compensation Program as the

compensation period to measure actual losses is reasonable in several respects:


              (a)     The Macondo oil well was successfully capped in September 2010.

             (b)   By late 2010, Gulf Coast tourism had returned to or above 2009
      performance levels, and this upward trend continued into 2011 and thereafter. By
      late 2010, Gulf Coast tourism had returned to or above 2009 performance levels,
      and this upward trend continued into 2011 and thereafter.

             (c)   Nearly all federal and state waters were re-opened for commercial
      fishing by November 2010. Also, available data for 2011 indicate that seafood
      landings are generally back to pre-Spill levels for all species except oysters, which
      are showing a slower rebound

       33.     Incorporating a Risk Transfer Premium (RTP) in the Economic Damage

Claim Frameworks and Seafood Compensation Plan is an economically sound method

for taking into account any risk of future loss, any risk of oil returning, liquidation of legal

disputes about punitive damages, and other factors it is designed to address. With the

RTP, a Claimant is paid a multiple of his or her compensation period losses on top of

those actual compensation period losses. The RTPs, as reflected in Exhibit 15 to the

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Settlement Agreement and in the Seafood Compensation Program, which vary based

on the Claimant’s geography and industry, are economically reasonable.


      34.     The Economic Damage Claim Frameworks also contain elements

designed to ensure that a Claimant is fully made whole for a variety of types of losses.

For example, the Frameworks provide for recovery of lost benefits, training and job-

seeking expenses for individuals, and for recovery of sweat equity for failed start-up

businesses.


      35.     The offsets in the Economic Damage Claim Frameworks to compensation

for amounts already paid in respect of the DWH Spill are a rational means of preventing

double recovery.


      36.     The Economic Damage Claim Frameworks favor Claimants in several

respects:


           (a)    Most Claimants are permitted to select one of three alternative
     Benchmark Periods: (i) 2009, (ii) the average of 2008 and 2009 or (iii) the average
     of 2007, 2008 and 2009. This flexibility allows Claimants in varying circumstances
     to maximize their recovery by selecting the period that produces the best result for
     them – an option that in all likelihood would be unavailable in litigation. At the
     same time, the use of standardized alternatives for the Benchmark Periods
     ensures administrative simplicity and consistency.

              (b)     The Multi-Facility Business Framework is beneficial to Claimants
     with facilities in multiple locations, providing an option that allows them to
     maximize their recovery by submitting claims only for facilities within the class
     geography that can establish compensable losses. Thus, for example, if a
     business experienced a sizeable loss in one facility that was offset by
     extraordinary profit in others, the business can still recover for the loss if that
     facility satisfies the causation and compensation requirements.

           (c)   The methodologies address a variety of circumstances that
     economic loss Claimants may face and reasonably address those circumstances.
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      There are methodologies for failed, failed start-up and start-up businesses,
      provisions for recovery of extraordinary one-time losses, provisions governing
      new entrants to employment and job changers.

             (d)     In determining compensation, the Business Economic Loss and
      Individual Economic Loss methodologies incorporate growth factors that result in
      the assumption of growth, even where the Claimant lacks data demonstrating
      such growth and in largely ignoring negative growth reflected in data submitted by
      Claimants that possess growth data. Particularly in light of the weak economy in
      2010, with its accompanying high unemployment, this growth factor methodology
      yields a generous estimate of 2010 loss to many Claimants, which is then
      amplified through application of the RTP.


       37.     The Seafood Compensation Program will fairly compensate vessel

owners, boat captains, crew members, oyster leaseholders and finfish quota holders for

losses resulting from the DWH Spill. The Seafood Compensation Program is based on

sound economic logic, consistent with industry data, and tailored to the specific

characteristics of industry participants. The Program provides $2.3 billion to

compensate industry participants. Since the DWH Spill affected a wide variety of on-

the-water industry participants in a similar manner, establishment of a transparent

compensation program specific to the industry is reasonable and beneficial to claimants.


       38.     The Seafood Compensation Program uses a common framework tailored

to the nature of the commercial seafood industries included in the Program with plans

for: (1) shrimp, (2) oysters, (3) finfish, (4) blue crab and other, (5) other seafood, and (6)

crewmembers. Each plan has eligibility, documentation requirements, and

compensation methods tailored to the particular species-specific industry. The Seafood

Compensation Program provides for a prompt claims payment process estimated to

provide initial compensation of $1.9 billion, or 83% of compensation covered under the

program. Standing alone, these initial payments for each category, which include
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RTPs, constitute full and adequate compensation. In addition, Program claimants are

expected to receive additional second-round payments bringing total payments to $2.3

billion.

           39.     Several claims processing aspects of the Settlement help Claimants to

maximize their recovery:


              (a)    The availability of reimbursement of fees for accounting services
       used to prepare Economic Damage and Seafood Compensation Program claims,
       as provided for in Section 4.4.13 of the Settlement Agreement, enables Claimants
       to obtain assistance in properly documenting their claims and selecting the most
       favorable Benchmark and Compensation periods.

              (b)    Section 4.3.7 of the Settlement Agreement provides that the Claims
       Administrator and Vendors are to use best efforts to provide Economic Class
       Members with assistance, information, opportunities and notice so that Economic
       Class Members have the best opportunity to be determined eligible for and
       receive Settlement Payments to which they are entitled.

             (c)     Section 4.3.8 of the Settlement Agreement requires the Claims
       Administration Vendors to evaluate Claimant information and documentation to
       produce the greatest Economic Damage Compensation Amount that the
       submitted information allows under the terms of the Economic Damage Claim
       Frameworks. This sort of “best outcome” provision is unique in my experience.

I. OPINIONS REGARDING THE ECONOMIC DAMAGE CLAIM FRAMEWORKS

           40.     The Economic Damage Claim Frameworks are a reasonable, rational, and

fair process for compensating Class Members for their claimed economic losses. The

Frameworks are firmly grounded in economic theory, and they are consistent with the

relevant economic data for the affected area.




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      A. The Incorporation Of Geographic Zones And Industry Distinctions In The
         Frameworks Is Based On Sound Economic Logic And Is Consistent With
         Economic Data Regarding The Gulf Economy.

          41.      The Economic Damage Claim Frameworks employ a compensation

methodology that is consistent with standard economic theory and practice and

consistent with the nature of economic activity in the Gulf Region.


          42.      In broad terms the coastal economy of the Gulf Coast Area is dominated

by economic activities related to tourism (including seasonal residences and second

homes), seafood, marine shipping, and energy production.1 These industries constitute

the economic base (“Base” or “Basic Industries”) of the Gulf Coast Area’s economy.

These Basic Industries are the driving economic force for the area’s economy. Their

addition of income and salaries to the area’s economy then supports local industries

that sell directly to the Basic Industries or sell goods and services to employees in the

Basic Industries.         Without the Basic Industries there would be very little economic

activity beyond subsistence activity. This simplified economic model is rooted in the

well accepted Economic Base theory.2


          43.      The seafood industry is a classic export Base Industry since it exports

most of its products outside the local region, bringing in income which supports its

production and its employees. The tourism industry along with the related seasonal

1
    http://stateofthecoast.noaa.gov/gulfreport.html.

2
  Tiebout, Charles (1956). "A Pure Theory of Local Expenditures". Journal of Political Economy 64 (5):
416–424; and (1956). "Exports and Regional Economic Growth". Journal of Political Economy 64 (2):
160–164; and (1960). "Community Income Multipliers: A Population Growth Model". Journal of Regional
Science 2 (1): 75. Krickelas, Andrew (July/August 1992), “Why Regions Grow: A Review of Research on
the Economic Base Model”, Economic Review, Atlanta, GA: Federal Reserve Board.

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residential and second home businesses are also export Base type activities, but

instead of physically exporting a vacation at the beach, the customers have to physically

come to the area to enjoy the experience. The end result is a far larger degree of

physical development related to the tourism industry than to the seafood industry.

Nevertheless, both are integral parts of the Gulf Coast Area’s economic Base.


      44.     The DWH Oil Spill had some direct implications for tourism and seafood

industries with consequential effects on some businesses in related industries. The

tourism and seafood industries are concentrated in the immediate coastal area. As

distance from the coastal area increases, the composition of economic activity shifts,

with tourism and seafood becoming less important drivers of economic activity.


      45.     The Economic Damage Claim Frameworks explicitly incorporate these

economic realities in the methodologies for compensating Class Members.               The

Frameworks have four main parts: (1) definitions for Tourism, Charter Fishing and the

Seafood Distribution Chain with causation presumptions that attach for certain

businesses and individuals in these industries and larger Risk Transfer Premiums

(RTPs); (2) geographic Zones with causation presumptions and larger RTPs for

businesses and employees more proximate to the coast; (3) Economic Damage Claim

Frameworks with general applicability yet also tailored to the specific circumstances of

businesses and individuals asserting Claims; and (4) RTPs used to compensate Class

Members for, among other things, potential future loss.


      46.     The Tourism Definition, Exhibit 2 to the Settlement Agreement, is

expansive in using detailed NAICS codes to define businesses “which provide services
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such as attracting, transporting, accommodating or catering to the needs or wants of

persons traveling to, or staying in, places outside their home community.” NAICS codes

are the standard classification system used by governmental agencies and economists

to classify businesses for analysis. The NAICS codes in the Tourism Definition include

attractions of all types, lodging places, eating and drinking establishments, retail stores

of all types, and transportation companies, among others. The Tourism definition is

broad and encompassing. For example, it includes nearly the entire retail sector.


       47.     The inclusive scope of the Tourism Definition is favorable to Class

Members because claimants meeting the definition are benefitted by causation

presumptions if also located in Zones A and B and by higher RTPs than non-Tourism

and non-Seafood claimants in all Zones.


       48.     Claimants satisfying the Charter Fishing definition, Section 38.18 of the

Settlement Agreement, are benefitted by causation presumptions if located in Zones A,

B and C and, by higher RTPs than Tourism claimants for Zones B and C.


       49.     The Seafood Distribution Chain Definition, Exhibit 3 to the Settlement

Agreement, reasonably distinguishes among three aspects to the distribution of

Seafood:     (i) Commercial fishermen (including vessel owners, crew, and oyster

leaseholders), who are on-the-water harvesting Seafood; (ii) Primary Seafood Industry

participants (land-based businesses that handle raw Seafood); and (iii) and Secondary

Seafood Industry participants (land-based businesses that handle Seafood that was

packaged or processed in the primary industry component, including seafood retailers).

Commercial fishermen are compensated in the Seafood Compensation Program which
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features presumptions for causation and the highest RTPs. Primary and Secondary

Seafood Industry participants are compensated in the Economic Damage Claim

Frameworks. Primary Seafood Industry participants benefit by a causation presumption

no matter the zone in which they are located and Secondary Seafood Industry

participants enjoy a causation presumption in Zones A, B and C. Both Primary and

Secondary Seafood Industry participants are benefitted by RTPs equivalent to or higher

than Tourism Industry participants.


       50.     The requirements for proving that a claimant’s loss is attributable to the

DWH Spill, and the RTP associated with claims, vary by Economic Loss Zones defined

in Exhibits 1A-1C of the Settlement Agreement. The four Zones (Zones A, B, C and D)

logically and rationally reflect the likelihood of potential economic harm from the DWH

Spill and are consistent with the nature of economic activity in the region. In general,

the Zones are structured to reflect the fact that as distance increases from the coast, the

likelihood of damage due to the DWH Spill is reduced just as economic theory would

expect. The Frameworks permit Claimants to establish causation anywhere in the class

geographic boundaries, but recognize that the likelihood that losses suffered by a

Claimant were due to the DWH spill is lower for Claimants located farther from the coast

and is lower for Claimants not in the Tourism, Charter Fishing, or Primary or Secondary

Seafood industries.


             (a)    Zone A includes the primary coastal tourism portion of the Gulf
      Coast Areas. While its precise distance from the coast varies for areas within
      Zone A, it generally includes the area from the coastline to the first major roadway
      or geographic boundary (such as the Intracoastal Waterway). Zone A also
      includes downtown New Orleans, which is the primary tourism destination in the

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     region. All businesses in Zone A are presumed to have been affected by the oil
     spill and do not have to prove causation.

             (b)   Zone B is a transitional zone landward of Zone A. Zone B consists
     of supplemental tourism areas that rely heavily on Gulf Coast-related tourism but
     whose economic activity also serves permanent residents. For example, portions
     of Fairhope, Foley, downtown Pensacola, Panama City, Apalachicola, and Port
     St. Joe contain businesses that beach tourists may patronize during their time
     vacationing along beaches, but they also contain tourism-related businesses that
     cater to permanent or seasonal residents of those cities and surrounding areas.
     Tourism, Charter Fishing and Primary and Secondary Seafood Industry
     participants do not have to prove causation if they are located in Zone B, but all
     other Claimants in Zone B must satisfy causation requirements.

             (c)   Zone C is generally landward of Zones A and B. It includes portions
     of major cities where businesses within the Tourism definition generally cater
     primarily to permanent residents, but also might rely partially on Gulf-related
     tourism. Zone C also includes key roads that tourists use to travel to Zone A
     tourist destinations. Businesses on these roads cater to both tourists in-season,
     and primary residents year round. Claimants in Zone C must satisfy causation
     requirements except for Charter Fishing and Primary and Secondary Seafood
     Industry participants.

            (d)    Zone D is the balance of the Gulf Coast Area outside of Zones A-C.
     Claimants in Zone D must establish causation unless they qualify as a Primary
     Seafood Industry participant. The causation threshold for Zone D is higher than
     the causation thresholds for Zones B and C. This comports with economic theory,
     and is consistent with the data as demonstrated below.

      51.     The treatment of roadways in the specification of the Zones is noteworthy.

In particular, incorporation of “feeder roads” in Zones A, B and C appropriately

recognizes that the coastal Tourism destinations in the Gulf Coast are “drive-to

markets.” Businesses along these feeder roads are affected by performance of the

coastal Tourism industry since these are the primary routes by which tourists access the

prime tourist destinations. The main feeder routes to Zone A destinations are mostly

designated as Zone C. Some of the feeder routes, including I-110 to Biloxi and SR 59

to Gulf Shores, are appropriately classified as Zone A roads because of their prominent


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positions in conveying tourists to Zone A coastal destinations. Battleship Parkway,

Foley Beach Expressway, US 98 from Gulf Breeze to Fort Walton Beach, and CR 293

in Destin are reasonably classified as Zone B roads given their important but somewhat

lesser roles in bringing tourists to Zone A and Zone B. In addition, the Zone definitions

favor claimants by providing that businesses located on a roadway bordering two

different Zones may choose the more preferred Zone for quantifying their claimed

losses.


      52.     My analysis of the types of businesses included in each Zone bears out

the reasonableness of the Zone definitions. The methodology I used to analyze the

concentration of Tourism businesses by Zone began with geographically specific shape

files for all business locations as provided by ESRI, a data provider which repackages

the 2010 business location data from InfoUSA. Businesses were assigned to each of

the four Zones based on their locations. Thirteen businesses were not placed within a

zone using this method, so these were manually located based on their addresses.


      53.     The analysis shows that the percentage of all businesses classified as

Tourism (using the Tourism Definition in the Settlement Agreement) is highest for Zone

A. Tourism businesses account for far smaller shares of total businesses in the other

zones, generally decreasing from Zones B through D.


      54.     Moreover, I note that the broad Tourism Definition includes a wide range

of firms in industries such as restaurants and bars which serve both local customers as

well as tourists.     The results of my analysis likely overstate the percentage of

businesses in Zones C and D that generate a substantial portion of sales from tourists.
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For example, the Tourism Definition includes full service restaurants (NAICS code

722110). A Waffle House restaurant in Orange Beach (Zone A) would cater to tourists

primarily, while an identical Waffle House in an urban area such as Montgomery,

Alabama (Zone D) would mostly serve its local customers. Yet, both establishments are

included in the Tourism Definition.          So the measurement for the concentration of

Tourism businesses I conducted using the Tourism Definition actually overstates the

true percentage of tourist-serving restaurants in Montgomery, yet the analysis still

clearly demonstrates that Tourism businesses are far more concentrated in Zone A than

the other Zones and generally decrease moving from Zone A to Zone D.


       55.     These results confirm the economic reasonableness of the Zone

definitions. The results of the analysis of Tourism businesses by Zone is exactly what

economic theory would predict, and shows that the concentration of Tourism

businesses declines with distance from the coast and in consideration of the feeder

routes to the coast.


   B. The Causation Methodology In Business And Individual Economic Loss
      Frameworks Is Consistent With Well-Established Economic Principles

       56.     Businesses and individuals may suffer losses for a wide variety of

reasons. Thus, it is necessary and economically appropriate to evaluate the likelihood

that a Claimant’s losses were due to the DWH Spill or to other unrelated factors. The

standardized approaches established in the Settlement Agreement for determining the

likelihood that a Claimant’s losses were caused by the DWH Spill, including granting a

presumption that certain Claimants’ losses are spill-related, are clearly defined,

reasonable and based on sound economic principles.
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           57.     For many Claimants (including all industry types in Zone A, Primary

Seafood Industry participants in all Zones, Secondary Seafood Industry and Charter

Fishing participants in Zone A, B, and C, and Tourism participants in Zone B, economic

losses incurred post-Spill in 2010 are presumed to be due to the DWH Spill and the

Claimant need not provide evidence to establish causation.3                                 This approach is

consistent with economic principles, which would predict that the DWH Spill would most

directly affect industries tied to the Gulf.                The available data reflect some decline in

performance in these industries in the months after the DWH Spill.                                   Granting a

presumption that losses experienced by such Claimants are spill-related benefits

Claimants by simplifying the Settlement claims process to avoid costs associated with

determining causation for Claimants in areas and industries most likely to have been

directly affected by the DWH Spill.


           58.     Claimants in industries and geographic areas that do not receive a

presumption must establish causation by satisfying defined thresholds for establishing

that their losses were spill-related, with different revenue threshold for Claimants in

Zones B and C as compared to Zone D.


           59.     areas more distant from the coast and Claimants in industries other than

Tourism, Charter Fishing, and Primary and Secondary Seafood facing higher causation

thresholds.




3
    See, Settlement Agreement Exhibit 4.B. ¶ I, Exhibit 6 § II.1-5, Exhibit 7 § III.A, Exhibit 8 §§ IB, IIB, IIIB.

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       60.     The Settlement Agreement establishes a variety of standardized

mechanisms that can be used by Claimants that do not receive a presumption to

establish that their losses are due to the DWH Spill.            These mechanisms are

straightforward and transparent, facilitating the review of a claim as well as a Claimant’s

decision about whether to participate in the Settlement or to opt out and continue to the

claim through litigation.


       61.     Claimants can establish that losses were spill-related by showing that their

revenue (i) fell at the time of the DWH Spill and (ii) later recovered after the DWH Spill

ended and clean up efforts were (largely) complete.         These causation criteria are

reasonable and economically appropriate, because revenue or earnings that fell due to

the DWH Spill would be expected to rebound after the DWH Spill ended. Losses that

continued after the DWH Spill ended are likely to be due to factors other than the DWH

Spill. The dates selected for the decline and recovery in revenues are supported by

economic data regarding the performance of the Tourism and Seafood industries in the

wake of the DWH Spill.


       62.     Moreover, the Frameworks provide Claimants with options to establish

causation based on a comparison of a period of any three consecutive months between

May-December 2010 to the same three months in the benchmark years (2009, average

of 2008 and 2009, or average of 2007, 2008 and 2009).            The availability of these

options provides the flexibility supporting my conclusion that the causation rules are fair

and reasonable.



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       63.     The causation criteria established in the Settlement Agreement are

straightforward focusing, for example, on the pattern of a Claimant’s change in revenue

(rather than profit), facilitating claims submission and processing.


       64.     The multiple methods available to Claimants to establish causation

encompass a wide variety of circumstances in which Claimant’s revenue or earnings

might have been affected by the DWH Spill.


       65.     The Frameworks for business and individual economic loss claims

correctly recognize the combined role of both geography and industry in setting

causation criteria. For example, firms in tourism industries – such as restaurants –

serve both local patrons as well as tourists.      In establishing causation criteria, the

Frameworks correctly recognize that the mix of local customers and tourists for firms

that qualify as “Tourism” businesses differs in different geographic areas. For example,

local patrons are likely to account for a larger share of customers for restaurants in non-

beach areas.        Thus, the specification of different causation thresholds in the

Frameworks for Tourism businesses in different Zones, and the use of different

causation thresholds for different types of business in the same Zone, is reasonable

from an economic perspective.


   C. The Approach In The Economic Damage Claim Frameworks
      To Compensate Eligible Claimants Is Reasonable And Is Based On
      Sound Economic Principles and Available Economic Data.

       66.     The Settlement Agreement applies standard economic principles of

damage analysis in establishing compensation for business and individual economic

loss Claimants. For these Claimants, compensation is based on (i) losses suffered by
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the Claimant post-Spill in 2010 and (ii) a Risk Transfer Premium (RTP), which, among

other things, compensates Claimants for any harm in 2011-12 and potential harm in

future years. The RTP also compensates Claimants for releasing rights to potential

punitive damage claims, among others.


          67.      The formula for determining compensation for 2010 losses outlined in the

Settlement Agreement is consistent with broadly accepted principles of damage

analysis that are recognized in the economic literature. Specifically, the Settlement

Agreement establishes Frameworks for estimating the difference between: (i) the profit

or earnings that a Claimant would have expected to earn in a Claimant-selected

Compensation Period within the period May-December 2010 in the absence of the

DWH Spill and (ii) the actual earnings or profits earned by the Claimant in the selected

Compensation Period in 2010.


          68.      Consistent with well-established models for establishing economic loss

damages, the Framework methodologies generally use pre-Spill benchmark period

earnings or revenue data to project expected earnings or revenue in the post-Spill May-

December 2010 period, taking into account any reasonably anticipated growth in

revenue.4        For businesses or individuals without comparable pre-Spill data, other

reasonable benchmarks are used consistent with professional practice and economic

theory5.


4
 Weil, Roman, et al. (2001), Litigation Services Handbook The Role of the Financial Expert, John Wiley &
Sons, Inc.: New York, pages 5.1 through 5.41.
5
    Weil, Op. Cit., pages 6.1 through 6.26.

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      69.     While the Economic Damage Claim Frameworks address specific

circumstances faced by various groups of Claimants – individuals with one employer,

individuals with multiple employers, businesses, start-up businesses, failed businesses,

multi-establishment business, seafood vessel owners, captains of seafood vessels, etc.

– each of these Frameworks adheres to the same set of well-recognized principles of

damage analysis.


      70.     Determining compensation based on losses suffered in 2010 and RTPs

specific to the Claimant’s location of loss and industry is consistent with available

evidence regarding the performance of the Gulf Coast economy during and after the

DWH Spill.    There were some declines in economic performance in the Tourism

industry in the second and third quarters of 2010. More specifically, available data

indicates that tourism recovered by late 2010 and that the summer of 2011, the first

following the DWH Spill, was especially strong for the Gulf tourism industry and 2012

continues to be strong. For example an analysis of STR data on RevPAR (Revenue

Per Available Room), a standard metric used to analyze tourism industry performance,

shows that:

              (a)    In May-August of 2010, RevPAR was 8% percent below 2009 (pre-
     Spill) levels in Florida’s Emerald Coast (for hotels within 1-mile of the beach from
     Pensacola to Panama City). However, by September-December 2010, the fall
     season immediately following the DWH Spill, RevPAR was 7% above 2009 levels.

           (b)  In May-August of 2011, the summer following the DWH Spill,
     RevPAR along Florida’s Emerald Coast was 12% above (pre-spill) 2009 levels
     and 21% above 2010 levels.

      71.     Data from the Alabama Gulf Coast Convention and Visitor’s Bureau

(GCCVB) also show that Gulf tourism rebounded quickly after the DWH Spill and further

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demonstrate the absence of longer harm to area tourism. The GCCVB covers the

oceanside Alabama communities of Orange Beach, Gulf Shores and Fort Morgan and

reports monthly trends in RevPAR for area hotels and revenue per available unit

(RevPAU) for area condos that are available for rental. The GCCVB data indicate that

tourism had rebounded to pre-spill patterns by fall of 2010 after experiencing a sharp

decline in the summer of 2010:

            (a)   In June-August 2010, RevPAR for hotels in coastal Alabama was
      34% below the same months of 2009. However, by September-October 2010,
      area RevPAR was 22% above 2009 levels.

           (b)    For condos in coastal Alabama, RevPAU in June-August 2010 was
      50% below the same period in 2009. But by September-October 2010, condo
      RevPAU was nearly equal to 2009 levels.

      72.       The GCCVB data also show that the rebound in area tourism seen in fall

2010 continued in 2011, with peak summer tourism metrics substantially surpassing

pre-spill levels observed in 2009. The most recent available data indicate that this

growth has continued into the summer of 2012:

           (a)    In June-August 2011, RevPar for hotels in coastal Alabama was
      10% above (pre-spill) 2009 levels for the same months, and

             (b)     In June-August 2011, condo RevPAU was 21% above 2009 levels.

      73.       For June 2012, the most recent data available, RevPAR for Alabama

coastal hotels was 17% above June 2011 levels (26% above June 2009) levels for the

same months, and condo RevPAU was 13% above June 2011 levels (36% above June

2009 levels).




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       74.     Moreover, tourism officials and businesses in the Gulf Coast Areas report

that tourism has recovered along the Gulf Coast Areas, and in some instances, in

record fashion. The following examples support this observation.

              (a)    Kelly Schulz, Vice President for Communications and Public
       Relations for the New Orleans Convention and Visitors Bureau observed, “New
       Orleans’ tourism industry also ended 2010 as the number one destination in the
       country for year-over-year REVPAR growth, according to Smith Travel”;6 and

              (b)    Lee Sentell, director of the Alabama Tourism Department said "We
       are excited that Alabama's Gulf Coast Beaches were able to re-bound so quickly
       and to set record numbers on top of it."7

       75.     Exhibit B contains more quotations from industry participants describing

the recovery in the tourism industry in the Gulf Coast Areas.


       76.     Total taxable sales dropped 2% in May-September of 2010 (Spill period)

compared to May-September 2009 (pre Spill) in the Emerald Coast counties (Escambia,

Santa Rosa, Okaloosa, and Bay).              However, taxable sales were up 8% in May-

September 2011 compared to May-September 2010. The post DWH Spill decline in

taxable sales in the tourism industry, and the subsequent post-spill recovery, was even

more dramatic. Tourist related taxable sales dropped 7% during the DWH Spill period

of May-September in the Emerald Coast and then rebounded 19% higher in May-

September 2011 compared to May-September 2010.


       77.     Available data also indicate that, as a general matter, fishing activity

returned to pre-Spill levels of activity after spill-related closures ended in late 2010:


6
  Kelly Schulz, Vice President for Communications and Public Relations for the New Orleans Convention
and Visitors Bureau, April 15, 2011.
7
  GlobeNewswire, “Cohesive Marketing Efforts Result in $200 Million Rebound for Alabama Beaches
Impacted by Gulf Oil Spill”, November 4, 2011.
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             (a)   The volume of shrimp landed in the class geography during the
      period from September-December 2010 (when fishing grounds re-opened) was
      4% above the average volume of landings over the same period from 2007-2009.

           (b)   The volume of finfish landed in the class geography in September-
      December 2010 was 3% above the average of 2007-09 levels.

            (c)    The volume of oysters landed in the class geography in May-August
      2011 was 71% above the same period in 2010, and only 11% below the average
      volume in 2007-2009.

            (d)    The volume of blue crab landings in the class geography in May-
      August 2011 was 36% above the same period in 2010, and only 6% below the
      average of 2007-2009.

       78.     Similarly, the RTPs specified in the Settlement Agreement for land-based

economic loss claims in various geographic areas and industry groups also are

reasonable, consistent with economic principles and consistent with available data. As

noted above, RTPs in part provide compensation for risks of future losses. Any such

risks are likely to be higher for Claimants in beach resort areas relative to other

geographic areas (Zone A) compared to Claimants in other areas where economic

activity is less affected by tourism and that were further from the spill areas. For similar

reasons, risks of future losses are likely to be smaller for Claimants in non-Tourism,

non-Charter Fishing and non-Seafood business than Tourism, Charter Fishing, and

Seafood-related businesses.


II. OPINIONS REGARDING SPECIFIC SETTLEMENT CLAIM FRAMEWORKS

   A. Business Economic Loss Framework

       79.     I conclude that, as a general matter, the detailed articulation of the

Business Economic Loss Claim Framework accounts for the varying circumstances of

the different businesses in the Gulf Coast Areas in a standardized manner that will yield

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economically reliable measures of spill-related harm for a wide variety of Claimants.

The sensitivity of the Framework to the circumstances of various groups of Claimants

provides assurances that the Settlement will provide fair and adequate compensation

for a wide variety of Claimants.


       80.     The documentation requirements needed to support a Claim are tailored

to the methodology in the relevant Framework and generally consist of the types of

documents businesses keep in the normal course of their business. All Claimants must

fill out a Claim Form. In addition, all business Claimants must provide federal income

tax returns, monthly and annual financial statements, and documents reflecting the

business structure and ownership of the Claimant.


       81.     As discussed above, the causation requirements of the Business

Economic Loss Framework are consistent with economic theory and data regarding the

Gulf Area economy. As explained above, the industry and geographic presumptions

are economically reasonable and promotes an efficient claims process.


       82.     For business Claimants that must establish causation, the causation tests

are clearly specified, in a standardized framework, and as demonstrated below

consistent with the economic data during the relevant time period.          In general,

businesses that are not entitled to a presumption of damage caused by the DWH Spill

can demonstrate their Business Economic Loss Claim in one of three ways: (1) a

showing that their revenue pattern was depressed compared to historical results and

subsequently recovered, including a variety of additional alternatives available to

claimants that did not experience a recovery to demonstrate that losses were DWH Spill
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related, (2) use of a proxy Claimant for small businesses with less than $75,000 in

revenue, or (3) documenting lost reservations or contracts.


      83.     To demonstrate that their losses were the result of the DWH Spill,

Business Economic Loss Claimants not entitled to a presumption of causation must

show that their revenue was disrupted by the DWH Spill compared to a Benchmark

Period. Essentially, causation is determined by showing that gross revenue trends were

consistent with a temporary disruption to business between May 2010 and December

2010, the period during and immediately after the DWH Spill.


      84.     Business Claimants can select from a variety of models to establish

causation: (a) V-Test, (b) Modified V-Test, or (c) Down Only Test. The test thresholds

become higher when a Claimant is located in Zone D compared to Zones B or C.


      85.     The parameters set forth in the V-Test test, Modified V-test, and Down

Only Test are economically reasonable and fair. As explained above, the time periods

for showing decline and recovery are consistent with economic data showing post-Spill

decline and recovery in the Tourism and fishing-related industries most likely to have

been affected by the DWH Spill. As also explained above, it is economically reasonable

to increase the threshold requirements for establishing causation in industries and

locations less closely associated with the Gulf. Tourism and Seafood-related industries

were the most likely to have been affected by the DWH Spill.


      86.     Moreover, in light of the lower concentration of Tourism industry

businesses in locations farther from the Gulf, and the broad inclusiveness of the

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Tourism definition, the requirements in the Modified V test (which has lower decline and

recovery percentages than the V-test) and the Decline-Only test that a Claimant

demonstrate decline and recovery in non-local business are economically reasonable.


      87.     The numerical thresholds for the tests are also economically reasonable.

Furthermore, the requirement that the Benchmark and Compensation periods used to

measure decline and recovery be measured over at least 3 months is a reasonable

means of ensuring that the data reflect a genuine trend in economic performance and

not just routine month-to-month variation that any business can expect even absent any

unusual event.      The specific thresholds in the causation requirements appear

reasonable because they are generally consistent with the decline and recovery data for

the Tourism and Seafood industries discussed in above. The numerical thresholds in all

tests are consistent with the reduction in hotel revenue experienced along the Emerald

Coast in May-December 2010 (relative to 2009), and they are generally consistent with

the reduction in hotel and condominium rentals experienced in coastal Alabama in May-

December 2010 (relative to 2009).


      88.     My conclusion that the causation requirements are reasonable and fair

from an economic perspective for Claimants that must establish causation is further

supported by the provisions of the Business Economic Loss Framework that provide

Claimants with the ability to select as their Benchmark Period years for both causation

and compensation purposes including: (i) 2009, (ii) the average of 2008 and 2009, or

(iii) the average of 2007, 2008 and 2009. Inclusion of a 2007 time period is significant

because it permits businesses particularly affected by the recession to include a pre-

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recession period in establishing a benchmark for evaluating causation. This flexibility,

coupled with the Claimant’s ability to choose the months used to measure decline,

permits the Claimant to select the most favorable periods to establish causation. And,

as noted, Settlement Agreement § 4.3.8 further requires the Settlement Program to

evaluate the claim to produce the maximum recovery permitted under the Framework.


         89.     The causation requirements also are economically reasonable in

permitting a Claimant that did not experience recovery in 2011 to identify other specific

factors or events that prevented the recovery that normally would have been expected.

This provision appropriately takes account of specific circumstances that might affect a

specific Claimant’s results and resulted in divergence from the normal pattern.


         90.     Similarly,   the    provision     that   hospitality   businesses   can    receive

compensation by providing documentation of lost reservations or contracts specifically

cancelled due to the DWH Spill is economically reasonable and favorable to Claimants,

because it permits them to establish causation and obtain compensation for specific

losses even if they cannot establish a broader decline in revenues caused by the DWH

Spill.


         91.     The Business Economic Loss Framework causation provision for

businesses with gross revenue of $75,000 or less in revenue to establish causation

based on proximity to another business that meets the causation threshold also is

favorable to small businesses. This “proxy” causation approach is economically

reasonable because it appropriately recognizes that the performance of a small

business can depend on a larger linked business.
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      92.     The Compensation Framework for Business Economic Loss Claims is

clearly articulated and, for the reasons described below, economically reasonable and,

indeed, generous to Claimants.         Compensation is calculated by comparing variable

profits expected in the absence of the DWH Spill in 2010 and actual variable profits

earned by the Claimant in 2010. This Settlement Agreement correctly characterizes this

standard calculation as a two step process:


              Step 1 compensates for any loss in profit between the Claimant’s 2010
              Compensation Period and the comparable months of the Benchmark
              Period.

              Step 2 compensates for any loss of incremental profits that the Claimant
              might have earned but for the DWH Spill. This calculation includes a
              Claimant Specific Factor that captures the growth or decline in the pre-spill
              months of 2010 compared to the comparable months of the Benchmark
              Period and a 2% General Adjustment Factor.

      93.     As   described      in   the      Business   Economic   Loss   Framework,        the

Compensation Amount is calculated by comparing the claimant’s variable profits

expected in the absence of the DWH Spill, based on the claimant’s prior earnings and

accounting for growth opportunities, less the actual variable profits earned by the

claimant in 2010. The total is then multiplied by the applicable RTP (Risk Transfer

Premium), and then reduced by any payments the Claimant has already received from

GCCF or BP. RTP accounts for the risk of future damage arising from uncertainty,

reputation damage, future oiling, and the like. Net compensation is the Compensation

Amount less any payments from BP or the GCCF or any VoO Settlement Payment

Offset and VoO Earned Income Offset.




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          94.      The use of a variable margin comparison to determine losses is

economically reasonable and consistent with traditional damage analysis8. The use in

the Settlement Agreement of agreed defined fixed and variable costs is efficient,

because it provides clarity to Claimants. This comparison is fair because it is objective

and will result in similarly situated Claimants being treated alike.


          95.      Moreover, the definitions of fixed and variable costs are, if anything,

generous to Claimants because at least some costs classified as “fixed” and therefore

excluded from the variable margin calculation are likely to have some element of

variable cost embedded in them. For example, advertising expenses are classified as a

fixed cost in the Settlement Agreement. If a Claimant was able to reduce its advertising

in response to the DWH Spill, this savings would not be reflected in the compensation

calculation, which would treat the “fixed” cost as actually incurred. This is a favorable

outcome for the Claimant, whose compensation is not reduced despite the Claimant’s

actual mitigation of its loss.


          96.      The growth factors used in the Business Economic Loss Framework

compensation calculation are generous to Claimants. The Framework provides that, for

Claimants that can provide data establishing growth between the comparable months in

their Benchmark Period and 2010, negative growth will be capped at -2%. That cap,

coupled with an assumed 2% General Growth Factor, means that even Claimants that

actually        experienced     negative      growth   between   the   Benchmark   Period     and

Compensation Period will not have their compensation reduced to account for that

8
    Weil, Op. Cit., pages 5.1 through 7.25.

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negative growth. It is also means that Claimants that actually experienced no growth

will be assumed to have experienced 2% growth in the absence of the DWH Spill,

despite weak general economic conditions in the summer of 2010. This is generous to

all of these Claimants, in that it gives them a more favorable result than is supported by

the actual data based on assumptions that are very favorable given the economic

environment.


       97.     Moreover, to the extent the growth factors are generous, that benefit to

claimants is magnified by two other features of the Business Economic Loss

Framework. First, the growth factor is applied over a minimum of six months, even if

the Claimant-selected Compensation Period is shorter.            Second, the calculated

Compensation Period loss which incorporates the growth factor methodology, is

multiplied by the applicable RTP.

   B. Other Business Economic Loss Frameworks

       98.     As noted above, the Settlement provides for specialized treatments for

multi-facility businesses, failed businesses, start-up businesses, and individuals. In this

way the Settlement provides flexibility for tailoring compensation to businesses and

individuals affected by the DWH Spill, consistent with well established economic

principles.


       99.     The Framework for a multi-facility business allow the business a number

of favorable options for making its Business Economic Loss (“BEL”) Claim. The options

are determined by: (a) the location of a business’ headquarters (either inside or outside

of the Gulf Coast Area), (b) whether the business maintained separate profit and loss
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statements for its various locations, and (c) whether all of the business’ facilities are

located within the Gulf Coast Areas.


       100.    The Settlement thus provides multi-facility businesses substantial flexibility

for the Business Claimant allowing it to make its best case for compensation.

Businesses that do not maintain separate profit and loss statements for their facilities

may still make separate facility-based claims by creating such financial statements from

contemporaneously-maintained business records and providing additional accounting

information to support their claims. Alternatively, they can claim on a consolidated basis

if this best serves their interest.


       101.    The Settlement also provides start-up businesses with additional flexibility

in establishing benchmarks for determining compensation for spill-related losses. A

start-up business is defined as one with less than 18 months of operating history at the

time of the DWH Spill. Generally, the Framework for Start-Up Business Claims adapts

the compensation, causation and documentation standards contained in the general

Business Economic Loss Claims Framework for the situation of a start-up business with

two main differences.        First, the Compensation Period includes three consecutive

months between May 2010 and April 2011 (compared to the end period of December

2010 for non start-ups). Second, the Claimant Compensation can be established in one

of two ways since there is a lack of pre-spill historical financial information for the

business: (i) use of a Benchmark Period of May 2011 through April 2012 or (ii)

projections for the months included in the Compensation Period which were prepared

prior to the DWH Spill and provided to and utilized by a qualified lender. Again, this

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flexibility is favorable to the Claimant, which can use the most advantageous benchmark

for comparison.


      102.    The Frameworks also provide a compensation framework for failed

businesses. A Failed Business includes those that began operations prior to November

1, 2008 and ceased operations between May 1, 2010 and December 31, 2011. A

method for Failed Start-Up Businesses is also specified in this Framework. Identical to

the definition of a Failed Business, a Failed Start-Up Business is defined as one that

began operations on or after November 1, 2008 and ceased operating between May 1,

2010 and December 31, 2011. The causation requirements for a Failed Business or a

Failed Start-Up Business are similar to those for businesses in general. However, the

Failed Business or Failed Start-Up Business must also demonstrate its ability to

continue as a going concern at the time of the DWH Spill by showing that: (a) it had

positive EBITDA for the 12-month period prior to May 1, 2010 (or for a Start-Up

Business with less than 12-months of operating history that it had positive EBITDA

during the period of time it did operate prior to May 1, 2010); (b) it was not in default

under any existing financing agreements; and (c) it was not located in Zone D (except

for Tourism or Seafood businesses).


      103.    Compensation for a Failed Business provides for payment of the full value

of the business at the time of the DWH Spill, generously reflecting the assumption that

the DWH Spill was the sole cause of the claimant’s failure. To calculate total enterprise

value (“TEV”) for a failed business the Framework multiplies: (a) the sum of the latest

12-months of EBITDA of the business prior to May 1, 2010 by (b) the industry valuation

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multiplier. The industry valuation multipliers are taken from Pratt’s Stats. Finally, the

liquidation value of the Failed Business is deducted from its TEV to determine the net

amount of compensation to its owners.


       104.    Pratt’s Stats is a widely used and respected source of data on private

company mergers and acquisitions reflecting actual closed transactions. I routinely use

Pratt’s Stats in my practice and find it to be a reliable source for industry multipliers.

Businesses routinely value their acquisitions and mergers using industry multipliers and

trailing 12-month EBITDA sums9. This well established approach is the methodology

followed in the Frameworks for valuing a Failed Business. Since an owner of a Failed

Business is compensated for the fair market value of their business, no RTP is applied,

a result that is reasonable and economically appropriate.


       105.    Compensation for a Failed Start-Up Business provides for a full return of

the investment in that business including “sweat equity.” The Claimant owner’s sweat

equity is documented by a submission of affidavits setting forth the basis for the sweat

equity claim along with supporting income documentation for the Sweat Equity

Benchmark Period.


       106.    These provisions for Failed Businesses and Failed Start-Up Businesses

are economically appropriate and, if anything, favorable to Claimants. Owners of failed

businesses are reimbursed for their investments or paid the fair market value of their

business. And, as mentioned above, the Settlement essentially treats the DWH Spill as

9
 Fishman, Jay, et al. (February 2012), Guide to Business Valuation, Thompson Reuters: Ft. Worth,
Texas, pages 5-31 through 5-42.

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the sole cause for the business failure despite the fact that start-ups have significant

failure rates in general and that some businesses fail all the time regardless of an oil

spill.


    C. Individual Economic Loss


         107.    Similar to the Business Economic Loss Frameworks, the Individual

Economic Loss Framework takes account of the Claimants’ circumstances, including

geographic location of their job, the type of industry in which they are employed,

seasonality, actual pre- and post-spill earnings, and the anticipated growth of earnings

in 2010. The Individual Economic Loss Framework also accounts for individuals who

held multiple jobs, new entrants to employment, job-changers and seasonal workers.

This permits a wide range of potential individual claimants to seek recovery with

compensation determined in a transparent way. The Framework also is extraordinarily

flexible in permitting individual claimants without contemporaneous records of

employment to assert claims based on sworn declarations (Category IV). There are

also methodologies applicable to the specialized circumstances of Individual Periodic

Vendors and Festival Vendors.


         108.    The causation methodology for individual claimants is similar to that for

business claimants. Causation is presumed for some individual claimants who work in

certain geographies and/or certain industries (Tourism, Seafood or Charter Fishing in

Zone A, B, or C). Other individual claimants must establish that a claimed loss is due to

the DWH Spill. Claimants whose employer is an Eligible Employer that received a

compensation offer from the Gulf Coast Claims Facility or satisfied causation under a
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claim with the Court Supervised Claim Facility can “piggyback” on that employer’s

causation; other individuals must obtain a Sworn Written Statement from the employer

attributing the employee’s loss of income to the DWH Spill.10


           109.    The Individual Economic Loss Framework applies generally accepted

methods for individual claimants who satisfy the threshold causation requirements to

receive compensation for lost earnings. It is generally accepted that lost earnings for

individuals are calculated as the difference between expected earnings and actual

earnings over the compensation period. Expected earnings in a compensation period

are determined by taking earnings during a comparable Benchmark Period in a Base

Year and adjusting them for anticipated growth.                       This is a standard measure of

damages for individual economic loss and is similar to the method used in the Business

Economic Loss Framework.


           110.    Notably, the Individual Economic Loss Framework applies this approach in

a manner that takes account of the possibility that individuals whose wages are reduced

may seek to compensate by working additional hours or finding secondary employment.

The provisions focusing on lost earnings from a Claiming Job, and providing that

earnings are related to hours worked, are logical and fair means of ensuring that an

individual who maintained his earnings only by working additional hours during his

selected Compensation Period to compensate for lost wages in his Claiming Job is not

penalized for that.11 Put differently, this provision recognizes the economic value of the

10
     See Sections I(B), II(B), and III(B)(1)(c) in Exhibit 8A of the Settlement Agreement.
11
     Settlement Agreement Exhibit 8A, definition O “Offsetting Earnings.”
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individual’s time, and compensates him not only for the difference in earned income

between the Benchmark Period and the Compensation Period but also for the value of

any free time lost due to the need to work extra hours to maintain his income. Thus, the

framework applies the traditional analysis in a manner designed to compensate the

individual for the economic loss, whether measured in lost dollars or the dollar value of

lost time at the individual’s established wage rate.


           111.    The Individual Economic Loss Framework provides great flexibility to

claimants by allowing them to select the Base Years and Compensation Period to

maximize recovery. Claimants in Categories I (those with Tax Documentation) and II

(those with Pay Period Documentation) can select 2009, the average of 2008 and 2009,

or the average of 2007, 2008 and 2009 as their Base Year.12 Similarly, a Claimant can

select a Compensation Period of 90 or more consecutive days that corresponds to the

pay periods in his Claiming Job.13 This 90-day requirement is comparable to the three-

month minimum Compensation Period for Business Economic Loss claims. As with the

Business Economic Loss Framework, the option to select a Base Year and

Compensation Period allows Claimants to select the periods that they believe provide

the best basis for comparison. Moreover, in the event the Claimant does not select the

Base Years and Compensation Period that optimize his recovery permitted under the

Individual Economic Loss Framework, Section 4.3.8 of the Settlement Agreement

12
   See Settlement Agreement Exhibit 8A at 3, Definition B. Category III claimants, including new entrants
to employment and job changers, do not have comparable prior period earnings and so cannot use these
prior years as Base Years. Category IV claimants, who lack prior period earnings records, are restricted
to 2009 as their Base Year.
13
     Ibid. at 5.

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obligates the Settlement Facility to do so. As I have noted previously, this provision is

unusual and extraordinarily beneficial to Claimants.


             112.    The Individual Economic Loss Framework also resembles the Business

Framework in its favorable provisions for Claimants relating to the use of “growth” in

projecting earnings.            First, claimants who can provide pay period documentation

establishing earnings growth can obtain the benefit of such growth in the calculation up

to a maximum of 10%.14 Second, the use of presumed General Growth and Industry

Growth Factors for many individual claimants is quite favorable given the economic

conditions in many parts of the Gulf Areas in 2011.15 Also, the operation of the growth

factors to preclude negative growth for many types of claimants and limit it to -0.5% for

any claimant whose earnings demonstrated negative growth is highly favorable to

claimants.16


             113.    The Individual Economic Loss Framework similarly resembles the

Business Economic Loss Framework in providing that most claimants receive RTP

multiples of their documented earnings losses based on their industry and the location

of their employment. Thus, such claimants are compensated for, among other things,

any potential risk of future losses.


             114.    The Individual Economic Loss Framework also contains additional

provisions reasonably designed to ensure that claimants are made whole for out of
14
     See Settlement Agreement Exhibit 8A at 5-6, Definition N.
15
     Ibid.
16
     Ibid.

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pocket employment-related losses and other employment-related economic losses they

are able to document. These include provisions permitting claimants to recover for out

of pocket expenses associated with seeking alternative employment, or job training that

led to alternative employment, or lost health insurance or pension benefits. These

provisions are economically reasonable and fair because they are reasonably designed

to determine the value of such out of pocket expenses or lost benefits.


      115.    Overall, the Individual Economic Loss Framework contains provisions that

clearly are designed to give claimants a fair opportunity to show they lost income

because of the DWH Spill and, for claimants who can meet the tests establishing such a

showing, to maximize their recovery.


   D. Promotional Fund


      116.    The Settlement Agreement also provides for a $57 million fund to promote

the Gulf Coast Areas and waters in Section 5.13.         This will provide a substantial

economic benefit to the class because it directly stimulates economic activity in the

near-term and enhances brand value of the destinations in the long-term. At $57 million

the promotion fund is significant compared to the amounts spent on promotion by the

various convention and visitors bureaus in the Gulf Coast Areas in a typical year.


II. SEAFOOD COMPENSATION PROGRAM

      117.    The Seafood Compensation Program provides $2.3 billion to compensate

vessel owners, boat captains, crew, oyster leaseholders and finfish quota (IFQ)



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holders.17 The Program is structured to offer prompt initial claims payments estimated

to total $1.93 billion with the balance distributed in a supplemental round of payments.

The Framework accounts for a variety of industry-specific characteristics and provides

fair and reasonable compensation for economic losses experienced in 2010 and

potential future loss.


          118.     My analysis of the Seafood Program begins with the data on Seafood

landings from 2007-2010 as shown in Table 1.                    Consistent with the design of the

program, the Table reports data for five categories of species: shrimp, oysters, blue

crab, finfish and other.


                  Table 1. Gulf Coast Area Seafood Landing Data 2007-2010

                  Average 2007-2009                           2010                     Reduction
              Revenue                               Revenue                        Revenue     Pounds
Category         ($M)         Pounds (M)               ($M)          Pounds (M)       ($M)        (M)
Shrimp            $264.9             174.4         $241.5                135.1        -8.8%      -22.5%
Oyster             $65.7              21.3          $51.6                 14.8       -21.4%      -30.6%
Blue Crab          $42.4              54.6          $39.8                 39.6        -6.2%      -27.4%
Finfish            $69.8              53.1          $55.0                 45.2       -21.2%      -14.9%
Other              $33.4                8.9         $43.0                  8.4        29.0%       -4.8%
                 ======           ========      ========             ========     ========    ========
Total            $476.1                $312.4        $430.9              $243.2      -9.5%      -22.1%
                     Source: NOAA ALS Landings Data for Class Geography

          119.     The data show that total catch in the class geography was reduced by

22% and total revenue reduced by 9.5% in 2010 over the average of the 2007 to 2009.

These data also provide a benchmark for evaluating whether the Program is sufficient to

fairly compensate claimants. As Table 1 shows, the $2.3 Program is almost five times

the total revenue the industry generated on average between 2007-2009.
17
     Settlement Agreement Exhibit 3.

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       120.    The data show that total catch in the class geography was reduced by

22% and total revenue reduced by 9.5% in 2010 over the average of the 2007 to 2009.

These data also provide a benchmark for evaluating whether the Program is sufficient to

fairly compensate claimants. As Table 1 shows, the $2.3 Program is almost five times

the total revenue the industry generated on average between 2007-2009.


       121.    The structure of the Seafood Compensation Program accounts for the

economic characteristics of the industry, including, among other factors, changes in

production volume in 2010, changes in price between 2010 and prior years and

estimates of the variable costs of production. The Program also recognizes vessel

owner and captain share in the earnings and accounts for typical risk-sharing rules in

each sector of the industry.


       122.    Eligible Claimants do not have to prove that their economic losses were

due to the DWH Spill; rather, losses are presumed to have been due to the DWH Spill.


       123.    While the Seafood Program is tailored to the specifics of the main industry

categories, it applies a conceptual framework that is common to all parts of the industry.

For example, each species-specific Compensation Plan (i) utilizes formulas that

compensate Claimants based on their historical catch, (ii) applies standardized

measures of the decline in industry catch in 2010; (iii) applies standardized measures of

non-labor costs; (iv) accounts for risk sharing among vessel owners and captains; and

(v) includes RTPs which compensate Claimants for future risks and releasing future

punitive damage claims. Seafood Crew compensation has its own documentation and

structure that will be discussed below.
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       124.    The documentation requirements for vessel owners, vessel lessees and

boat captain claims are limited and tailored to the information required to establish

eligibility and a claimant’s historical catch or earnings and are limited to information

routinely maintained in the normal course of business. For example, a vessel owner or

lessee must show proof of ownership, a government license authorizing commercial

fishing in the Specified Gulf Waters, and that it was either home ported in the Gulf Coast

Areas or landed seafood in the Gulf Coast Areas. A boat captain must document that

they meet licensing requirements and worked on a vessel that was home ported in the

Gulf Coast Areas or landed seafood in the Gulf Coast Areas. Vessel owners and boat

captains are required to provide information on the size of their historical catch, which is

routinely reported to state officials and collected in the normal course of business.

Alternatively, tax information can be used to document historical catch.


   A. Shrimp Compensation Plan

       125.    Shrimp generated more than 50% of the total Seafood landing revenue

from 2007-2010. The Shrimp Compensation Plan contains various features based in

part of the wider scope of information available for commercial shrimping compared to

other industry sectors. Government survey data on the shrimp industry in the Gulf Coast

Areas are used to parameterize cost elements in the compensation formula and

information on the number of vessels by size class and are used in developing the




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expedited compensation models.18 Government survey data of this type are unique to

the shrimp industry.


        126.    Shrimp Compensation Plan Claimants can establish their loss using the

Historical Revenue Method common across the different species-specific Plans, or they

may claim using one of two “expedited” payment methods or a new entrant method: (a)

Expedited Compensation Method or (b) Reduced Expedited Method. In both cases,

Claimants may qualify if they establish vessel revenue during the benchmark period at

or above a qualifying threshold for that vessel’s size and type.


        127.    In the Historical Revenue Method for Shrimp industry Claimants the loss

percentage is set at 35%. This is a generous loss estimate based on the shrimp

industry data on landings. The compensation formula also includes an upward

adjustment of 20% for the expected price increase for shrimp in 2010.


        128.    The New Entrant Compensation Method compensates vessel owners and

captains who are new to the shrimp industry, if they can demonstrate a substantial

investment prior to the 2010 season.


        129.    The shrimp industry RTP is 8.25 for vessel owners and 7.25 for captains

in the shrimp industry. As discussed above, 2011 shrimp harvests are in line with pre-

spill years.



18
  See for example Liese, Christopher and Michael Travis (March 2010), The Annual Economic Survey of
Federal Gulf Shrimp Permit Holders, NOAA Technical Memorandum NMFS-SEFSC-601 and National
Marine Fisheries Service (April 2011), 2009 Economics of the Federal Gulf Shrimp Fishery Annual
Report.

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           130.        In light of these facts, the Seafood Program provides fair and

   adequate compensation to claimants in the shrimping industry.


   B. Oyster Compensation Plan

       131.    The Oyster Compensation Plan has several features tailored to the

economic structure of the oyster industry, and provides compensation to oyster

leaseholders both for lost income and potential harm to the leasehold interest.


       132.    The Leaseholder Interest Compensation is paid on a per acre basis

depending upon the location of the leasehold. Leasehold income claims reflect the

potential loss in income earned by payments from harvesters.


       133.    The required documentation includes standard business records such as

valid oyster lease and location information for leasehold interest claims and standard

business records to document lost income for harvesters and leaseholders.


       134.    The compensation formula for Leaseholder Lost Income is tailored to the

specific situation of the oyster industry, and recognizes the distinct role of harvesters

and leaseholders, including the fact that many industry potential claimants participate in

both activities. The framework accounts for price increases in 2010 and reflects an

assumed loss percentage of 40%, which is higher than in the shrimp program. The

RTP for the oyster industry is 8.75 for vessel owners and 7.75 for captains.


       135.    In light of these facts, the Seafood Program provides fair and adequate

compensation to claimants in the oyster industry.


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   C. Blue Crab Compensation Plan

      136.    The parameters of the Blue Crab Compensation Plan are also tailored to

reflect the specific circumstances and practices in this industry segment. For example,

the Blue Crab Compensation Plan includes a lump sum of $7,500 per vessel for owners

who receive a Final Blue Crab Compensation payment. At a price of $25 per trap, that

represents nearly 300 traps per vessel.


      137.    The documentation requirements are tailored to the industry and require

information used in the ordinary course of business. The standard loss factor for the

blue crab industry is set at 35% and the price adjustment factor is set at 20%. Both of

these parameters are generous in light of the landings data for blue crabs. The RTP for

the blue crab industry is 6 for vessel owners and 5 for boat captains,


      138.    In light of these facts, the Seafood Program provides fair and adequate

compensation to claimants in the crab industry.


   D. Finfish Compensation Plan

      139.    The Finfish Compensation Program provides for compensation for vessel

owners, boat captains, and holders of Individual Fish Quotas (IFQs), which permit

holders to harvest a specified level of catch for given species. There are many finfish

species for which NOAA gathers landing data. Combining these into one Finfish

Compensation Plan is reasonable because: (a) similar fishing gear is used by fisherman

harvesting a variety of species; (b) many finfishermen catch multiple species of fish.




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       140.    The documentation requirements to establish eligibility for the Finfish

Compensation Plan are tailored to the finfish industry and are limited to documents

typically maintained in the ordinary course of business.


       141.    Similarly the compensation formula is calibrated to reflect industry costs

as represented in NOAA data, changes in prices in 2010, and the decline in industry

catch in 2010. The standard loss factor for the finfish segment of the industry is set at

25%. The RTP factors for the finfish industry are 6 for the vessel owner and 5 for the

Boat Captain. As noted above, a unique feature of the Finfish Plan is its additional

compensation for Individual Fishing Quota (“IFQ”) shareholders. A fund of $50 million is

available to IFQ shareholders which will be divided based on the percentage of IFQ

shares owned.


       142.    In light of these facts, the Seafood Program provides fair and adequate

compensation to claimants in the finfish industry.


   E. Other Species Compensation Plan

       143.    The all other category principally includes spiny lobsters and stone crabs

but also includes other fishery products not elsewhere covered. The eligibility

requirements and documentation are similar to those for the other Plans.


       144.    The compensation formula reflect characteristics specific to this category.

The loss factor is set at 10%, which is generous compared to industry data. The RTP for

other species is 5.5 for the vessel owner and 4.5 for the Captain.



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       145.    In light of these facts, the Seafood Program provides fair and adequate

compensation to claimants in the other parts of the seafood industry.


   F. Seafood Crew Compensation Plan

       146.    The Seafood Crew Compensation Plan allows eligible crew to claim

compensation using one of three methods depending upon the documentation they

have available. Category 1 Claimants have tax returns or evidence of pay period

earnings. Category 2 Claimants lack tax returns or pay period records. They can claim

based on a Claimant Sworn Statement and an Employer Sworn Statement to establish

their earnings. Category 3 Claimants do not have tax returns, pay period records, or an

Employer Sworn Statement. They can establish their earnings by submitting: (a)

Claimant Sworn Statement, (b) a Sponsor Sworn Statement, and (c) an Attorney Sworn

Statement (if applicable).


       147.    Category I Claimants are compensated at 37% of their average Actual

Earnings from the Claiming Jobs that they held during the Benchmark Period they

select. In addition, those Category 1 Claimants who also provide documentation that

they were present and available to work between April 21, 2010 and December 31,

2010 (termed “Work Availability”) are eligible for an RTP of 2.25, a figure consistent with

RTPs for individuals employed by Tourism businesses in Zone A, Charter Fishing

businesses in Zones A, B or C, and Primary and Secondary Seafood Industry

participants located in any Zone.


       148.    Category II Claimants may receive 37% of their Actual Earnings during

their Benchmark Period, or 37% of their potential earnings between April 21, 2010 and
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December 31, 2010. If the Claimant can document work availability, then an RTP of

2.25 is also applicable. However, compensation for Category II is capped at $9,500,

and there is an overall cap on all Category II awards of $80 million.


       149.    Category III Claimants will receive a lump sum of $5,000 assuming the

total payments to Category 3 Claimants does not exceed $50 million. Otherwise,

Category III Claimants are paid on a pro rata basis. Allowing compensation claims

based on sworn statements, as is the case for Category II and III, is a generous

procedure and unusual in my experience as an expert economist who often renders

opinions on economic damages in court.


       150.    The Seafood Crew Compensation Plan recognizes the possibility of

undocumented earnings and permits great flexibility in permitting crew members without

standard documentation to receive compensation. For crew members with

documentation, Category I offers crew members a compensation methodology

comparable to the Individual Economic Loss Claims Framework.


       151.    In light of these facts, the Seafood Crew Compensation Plan provides fair

and adequate compensation to claimants in the other parts of the seafood industry.


   G. Concluding Opinions Concerning the Seafood Compensation Program

       152.    The Seafood Compensation Program is based on sound economic logic,

and is firmly grounded in economic theory. The Program appropriately accounts for

available industry data and incorporates generous assumptions with respect to the

impact of the DWH Spill on catch and other factors. The Compensation Program is

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based on a uniform framework appropriately tailored to reflect the circumstances of

industry segments. The initial $1.9 billion distribution is sufficiently large to ensure that

all claimants receive fair and adequate compensation. Overall the $2.3 billion program

is roughly five times annual industry revenue.


SUMMARY OF CONCLUSIONS

       153.    It is my opinion that the Economic Damage Claim Frameworks and the

Seafood Compensation Program are fair, equitable, transparent, and in fact generous to

the Claimants. As noted above, the Frameworks are fully consistent with the standard

approach and professional practice of determining causation and damages. Further,

the Frameworks provide for a uniform approach to evaluating claims, while also

including alternatives that permit consideration of Claimants’ specific circumstances.


I declare under penalty of perjury that the foregoing is a true and correct statement of

my opinions and analysis.

                                                                              Digitally signed by Henry H. Fishkind, Ph.D.
.                                                 Henry H.                    DN: cn=Henry H. Fishkind, Ph.D.,
                                                                              o=Fishkind and Associates, Inc., ou,

                                                  Fishkind,   Ph.D.           email=Hankf@fishkind.com, c=US
                                                   ____________________________
                                                                              Date: 2012.08.13 19:23:11 -04'00'

                                                   Henry H. Fishkind, Ph.D.


Dated: August 13, 2012




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                                           EXHIBIT A

                       RESUME FOR HENRY H. FISHKIND, PH.D.




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                                      EXHIBIT B
                            TOURISM INDUSTRY QUOTATIONS


FLORIDA PENINSULA

Article 1: Claire Simms, Busy Spring Break Should Mean Busy Summer Tourism, First
Coast News, March 28, 2011.

   •   "‘The hotels have been sold out, which has been amazing,’ explained Patty
       Hinkle, manager at the Hilton Garden Inn in St. Augustine Beach.”
   •   "‘This year it seems stronger than it has been in a while,’ said Hastings. He said
       that is a good sign of things to come, because the spring break season often acts
       as a barometer for how strong the summer tourist season will be. ‘We hope it
       translates into good summer business,’ he said.”

Article 2: South Florida Business Journal, Statistics show Florida tourism continues to
rebound, May 16, 2012.

   •   “The 23.4 million visitors that came to Florida in the first quarter of 2012
       represented an increase of 2.4 percent over last year's first quarter, Visit Florida,
       the state's tourism marketing arm, reported on Wednesday. Direct travel-related
       employment in Florida rose 1.9 percent to 1.03 million, adding 19,200 jobs over
       the past year and representing the largest employment total since first quarter
       2008, the agency said.”
   •   “‘On the heels of a record year for the Florida tourism industry in 2011, it’s
       encouraging to see the trend of more visitors and more jobs extending into 2012,’
       Gov. Rick Scott said in a press release.”
   •   “Florida’s 14 major airports had a 2.5 percent increase in total enplanements and
       recreation taxable sales for Florida the first two months were up 8.7 percent. The
       average daily room rate rose 5.7 percent and the occupancy rate for Florida
       hotels increased 2.7 percentage points.”

Article 3: Trevor Pettiford, Record-breaking tourism numbers for Pinellas County, Bay
News 9, May 8, 2012.

   •   “Pinellas hotels and beaches had a great March. Numbers from the tourist
       development tax, also known as the bed tax, show the county collected nearly
       $4.5 million in March. That amount is the highest amount ever for a single
       month.”
   •   “Visit St. Petersburg/Clearwater Deputy Director David Downing said it adds up
       to more than just a good month. ‘That's a record for March,’ Downing said. ‘It’s a
       record for any month in the history of Pinellas County. So we're actually very
       pleased.’”

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Article 4: Rick Flagg, Gulf Oil Spill Distant Memory for Tourism Industry, Florida
Broadband News, April 18, 2012.

   •   "‘It's remarkable, really, when you think about the challenges that we went
       through just two years ago,’ Seccombe said. ‘The fact that the state of Florida
       had record visitation last year. We saw visitation from in-state travelers, from
       domestic travelers around the U.S. and from all our international markets really
       rebounded.’”
   •   “Nearly 86 million tourists visited the state last year... breaking the old record set
       in 2007. Seccombe says marketing was a big reason why.”


FLORIDA PANHANDLE

Article 1: Dave Heller, Panhandle Tourism Stages Big Comeback from BP Oil Spill,
First Coast News, September 6, 2011.

   •   "‘The visitors prove that Panama City Beach is back. The real good news is that
       in addition to being 51 percent up from last year, we are 28 percent up from the
       next highest month that we had. So it was the best month that this beach has
       ever had in terms of lodging revenue.’"
   •   “Business in the Panhandle is up 30 percent from last year and some areas are
       setting new records in lodging revenues. Panama City Beach is one of the tourist
       destinations on a record pace this year. It posted its biggest month ever in July –
       up 51 percent from a year ago when the region was struggling with the
       Deepwater Horizon oil spill.”
   •   "‘People are pretty happy. This has been a very good year for us. We're up 18.5
       percent year-to-date so it's not just July's numbers. Throughout the entire year
       the business has been good.’"

Article 2: Lauren Sage Reinlie, Scott praises region's use of BP funds to rebound from
oil spill, Florida Freedom Newspapers, October 14, 2011.

   •   “Gov. Rick Scott on Thursday praised local officials’ use of BP funds to revive the
       tourism economy and repeated his goal to create jobs in the region at the annual
       Focus Northwest Florida event sponsored by Florida’s Great Northwest.”
   •   “He said he would continue to work to bring jobs to the entire state, but expected
       Northwest Florida to do ‘extremely well… people want to live here,’ he said.”

Article 3: Dusty Ricketts, Emerald Coast completes record-breaking summer with
August figures, Northwest Florida Daily News, October 6, 2011.

   •  “Tourist development agencies in Okaloosa, Santa Rosa and Walton counties
      recently released their bed tax collection data for August. Collections were up
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       61.99 percent in Okaloosa County, 63.88 percent in Walton County and a
       staggering 101.3 percent in Santa Rosa County.”
   •   “For the months of June, July and August, Okaloosa County's bed tax collections
       were up 57.81 percent from 2010. Santa Rosa County was up 63.11 percent and
       Walton County was up 42.26 percent. Earlier in the summer, Okaloosa and
       Walton counties broke records on the amount of bed taxes collected in a single
       month.”
   •   "‘Down here, you expect June and July to be good,’ Russell said. ‘That's a given,
       and they were great months and so much better than last year. What's
       encouraging is not only was the summer strong, but the spring was strong and
       the fall was strong. For this economy, this is really what we need. We need to do
       well in the shoulder months.’”
   •   "‘What has been the most gratifying for us has been the way August performed,’
       he added. ‘August is kind of the shoulder season, but our leisure business in
       August was up 156 percent over last year and our group business was up 40
       percent over last year. It was just an incredible month.’”

Article 4: Dusty Ricketts, Bed tax collections finish strong, Northwest Florida Daily
News, November 9, 2011.

   •   “September was the final month for the local tourist development agencies' fiscal
       year, and bed tax collections in Okaloosa, Walton and Santa Rosa counties each
       were up roughly 30 percent compared to 2010.”
   •   “Walton County's bed tax collections for fiscal 2011 were up 29.54 percent
       compared to last year and set a new record. Okaloosa County's numbers were
       up 31.98 percent and Santa Rosa County’s were up 34.98 percent.”
   •   “‘A lot of people learned about us and came to visit us this year, so I don't think
       we'll have any trouble keeping the momentum,’ [Kate] Wilkes, [executive director
       of Santa Rosa County's TDC] added. ‘We have to keep ourselves out there with
       smart advertising.’”
   •   “‘…the Emerald Coast had its best June, July, August and September months
       ever,’ Mark Bellinger, executive director of the Okaloosa County TDC, wrote in
       an email.”

Article 5: Dusty Ricketts, Local tourism industry is red-hot, Northwest Florida Daily
News, March 16, 2012.

   •   “‘All the reports from everybody I’ve talked to, they said the reservations are
       great,’ said Kate Wilkes, executive director of the Santa Rosa County Tourist
       Development Council. ‘They’re way ahead of where they usually are…All of that
       advertising (with BP money) wasn’t just for last year,’ Wilkes added. ‘It put us on
       the map. We also went into markets that we never had money to do before —
       Tennessee, Texas. We did a lot of television, things we couldn’t do before and it
       really helped.’”

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   •   “Okaloosa County collected $297,124 in bed taxes in January, a 15.71 percent
       increase from January 2011 and the third most ever collected in a January. Only
       January 2006 and 2007 posted larger collections.”

Article 6: Dusty Ricketts, Emerald Coast completes record-breaking summer with
August figures, Northwest Florida Daily News, October 5, 2011.

   •   “Tourist development agencies in Okaloosa, Santa Rosa and Walton counties
       recently released their bed tax collection data for August. Collections were up
       61.99 percent in Okaloosa County, 63.88 percent in Walton County and a
       staggering 101.3 percent in Santa Rosa County.”
   •   “The recovery from last year’s oil spill even caught the attention of Florida Gov.
       Rick Scott, who visited the area earlier this week. ‘You had a great tourist
       season,’ Scott said. ‘We think you’re headed in the right direction. All of your
       regional efforts had a big impact.’”
   •   “Mark Bellinger, executive director of the Okaloosa County Tourist Development
       Council, said several factors contributed to the strong rebound from last year.
       ‘Visitor numbers this past summer far exceeded the majority of businesses’ pre-
       summer forecasts and expectations,’ Bellinger wrote in an email. ‘The Emerald
       Coast received a fantastic positive economic boost from our destination’s record-
       breaking months of June and July of 2011.’”

Article 7: Dusty Ricketts, Okaloosa sets February record for bed tax collections,
Northwest Florida Daily News, April 4, 2012.

   •   “Having a county break a record for the amount of bed taxes collected in a given
       month now happens so frequently it’s beginning to be the norm rather than the
       exception. The trend continued in February when Okaloosa County collected
       $437,614 in bed taxes, a 19.7 percent increase from last year and the best
       February on record.”
   •   “‘Everybody is doing really, really well,’ said Kate Wilkes, executive director of the
       Santa Rosa County Tourist Development Council. ‘The predictions for spring
       break have been great and summer reservations are up. Everybody is thrilled.
       You can just tell by the cars around. It’s amazing.’”
   •   “In Walton County, $444,324 in bed taxes was collected in February, an increase
       of 23 percent from February 2011 and only about $55,000 shy of its top February
       in 2007.”

Article 8: Pat Kelly, Tourism pivots toward summer, Panama City News Herald, April
11, 2011.

   •   “‘I think there is a real pent-up demand from last year,’ Mike Bennett, of
       Seahaven Beach Resorts, said of the coming summer season. ‘We think they will
       be hungry to get down here.’”

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   •   “Bed tax take in February totaled $483,178.62, an increase of $40,387.98 over
       2010 collections of $442,790.64, or 9.12 percent, according to Charlene Honnen,
       Bay County tourist development tax specialist.”

Article 9: Pensacola News Journal, Hotel revenue soars in Escambia, Pensacola
News Journal, March 18, 2011.
   • “Hotel revenues in Escambia County soared 30 percent in February, boding well
       for the spring and summer tourist season.”
   • “Pensacola Convention and Visitor Center head Ed Schroeder attributed the
       revenue spike in large part to unseasonably mild weather in February and pent-
       up demand brought on by last year’s BP oil spill. ‘We expected good hotel
       revenue numbers for February, but to see a 30 percent increase is incredible,’
       Schroeder said.”
   • “In addition to the revenue increase, hotel occupancy for February was up 15.3
       percent over the same period last year.”

Article 10: Dusty Ricketts, Panhandle TDC officials “very pleased” with surging bed tax
numbers, Florida Freedom Newspapers, July 5, 2011.

   •   “A local tourism official said she did not believe last year’s oil spill was causing
       any lasting impacts on the area, and May’s bed tax numbers back her up.”
   •   “Compared to 2010, bed tax collections from short-term rentals in Santa Rosa
       County increased 25.22 percent, Okaloosa County had a 12.98 percent increase
       and Walton County’s collections were up 15.13 percent.”
   •   “‘Hopefully it will continue,’ Wilkes added. ‘I’ve been getting some good reports.
       June and July Fourth we know were great.’ Wilkes said the only lasting effect she
       has seen from the oil spill is that more people continue to wait until the last
       minute to book their vacation.”

Article 11: PRWeb, Bookings to Northwest Florida Vacation Destinations Surge by
Almost 20%, May 21, 2012.

   •   “The trend of increased bookings to Northwest Florida vacation destinations
       immediately follows what has been described as a record breaking College
       Spring Break season in Panama City Beach, Florida. Shannon Posovad of
       Collegiate Marketing Group (CMG), an agency that markets Panama City Beach
       to students, claims that the beach destination saw a nearly 20 percent increase
       during the month of March according to the latest round of bed tax numbers,
       exceeding expectations.”
   •   “Eager to capitalize on this increase in tourism, and to maintain Panama City
       Beach’s marketing efforts, Rowe, and the TDC is looking to extend the 5th cent
       bed tax for Panama City Beach, which is currently set to expire in 2014. Last
       fiscal year it was responsible for collecting nearly $2.6 million dollars.”

ALABAMA
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Article 1: David Ferrara, Baldwin beaches set spring lodging record, AL.com, August
1, 2011.

   •   “More than $64.9 million was spent in lodging rentals, which is almost 13 percent
       higher than 2007, the previous high mark, Gulf Shores & Orange Beach Tourism
       reported…”
   •   “Since the start of the year, the area has seen a 14 percent increase in lodging
       rentals, according to the release. The spring's retail sales came in at $167.7
       million.”
   •   "‘These lodging figures show that the area is continuing to recover in a strong
       manner as lodging revenue is the best indicator of tourism growth,’ said Herb
       Malone, president and CEO of the CVB.”

Article 2: David Ferrara, Baldwin County beaches set record for spring lodging, trend
expected for year, AL.com, August 2, 2011.

   •   “Even though Pleasure Island now has 16,151 units — about 1,000 more than in
       2007 — the lodging revenue figure proves a ‘huge, huge boost’ for the area, said
       Mike Foster, the tourism group’s vice president of marketing.”
   •   “‘I really believe ’11 will be the best year ever,’ [Orange Beach Mayor Tony]
       Kennon said. ‘And I’m enthusiastic about that, but I want to caution everybody: a
       spike does not a trend make. We’ve just got to be very, very frugal in our
       budgeting process, and over time, I think there is going to be some huge silver
       linings to this entire oil spill fiasco.’”
   •   “Since the start of the year, the area has seen a 14 percent increase in lodging
       rentals, according to the release. The spring's retail sales came in at $167.7
       million.”

Article 3: Staff, Press-Register, Beach lodging, retail sales hit new highs for July,
officials say, AL.com, September 20, 2011.

   •   “Data released today by Gulf Shores & Orange Beach Tourism shows that
       Alabama’s beaches gathered $69.8 million in lodging revenue during July. This
       figure represents a 34.5 percent increase -- equaling $17.9 million -- over July
       2007, which recorded $51.9 million, which is the previous benchmark year,
       tourism officials said.”
   •   “Gross retails sales for July 2011 ($94.8 million) also saw an increase of 17.9
       percent ($14.3 million) over July 2007 ($80.4 million).”
   •   “When comparing year-to-date lodging figures, the area is currently 22.2 percent
       above the same period for 2007.”
   •   “These lodging and retail figures contribute to the income of more than 40,000
       Baldwin County residents, who are employed in travel-related jobs, according to
       Malone.”

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Article 4: Guy Busby, Lodging, sales revenues smash records in Gulf Shores, Orange
Beach, AL.com, September 21, 2011.

   •   “Income from hotel and condo rentals for the year through July is 22.2 percent
       ahead of that during the previous best year of 2007, the report said.”
   •   “July brought gross retail sales of $94.8 million. That was 17.9 percent above the
       $80.4 million in July 2007, the report said.”

Article 5: Kathy Jumper, Tourism revenues increase on Gulf Coast; SEC Beach Fest
set, AL.com, May 10, 2012.

   •   “Lodging revenues jumped 15.6 percent and retail sales rose 12.3 percent
       compared to this time last year as the coast continues its energetic comeback
       from the Gulf oil spill, according to data Tuesday from Herb Malone, president
       and CEO of Gulf Shores and Orange Beach Tourism.”
   •   "‘When we think of what happened two years ago, and look at 2011, we had 4.9
       million people choose to come here on vacation,’ Malone said. ‘They left behind
       $2.6 billion in direct spending in Baldwin County.’”

Article 6: Guy Busby, Numbers show beach business bouncing back, The Birmingham
News, September 21, 2011.

   •   “A year after the oil spill, July lodging rental revenues in Gulf Shores and Orange
       Beach smashed the record for that month set in 2007 and more than doubled
       revenues from July 2010, according to a report released Tuesday.”
   •   “July's $69.8 million lodging revenue marked a 37 percent increase from the
       previous July high of $51.9 million in 2007, according to the report. And it
       compared to $27.3 million last July while the spill was at its height.”
   •   ''‘We had a little over 13,000 people for the month of July,’ Bailey said. '’We
       ended up having a really good summer. As of September 1, we had over 74,000
       visitors. For the whole fiscal year last year, all the way through our accounting
       period, we had 55,129.’ Bailey said the fort recorded 74,539 visitors in 2007.”

Article 7: Cohesive Marketing Efforts Result in $200 Million Rebound for Alabama
Beaches Impacted by Gulf Oil Spill, GlobeNewswire, November 4, 2011.

   •  “A strong partnership between Gulf Shores & Orange Beach Tourism (CVB) and
      the Alabama Tourism Department (ATD) allowed both agencies to fully maximize
      marketing funds provided by British Petroleum (BP) to propel the Gulf Shores,
      Orange Beach and Foley area to a $200 million* summer rebound for this beach
      community that suffered the gulf's largest economic loss from the Deepwater
      Horizon explosion.”
   • “The Pleasure Island communities (Gulf Shores, Orange Beach and Fort
      Morgan) gathered a record setting $154 million in summer lodging revenue -- an
      18 percent ($24 million) increase over the previous benchmark year of 2007,
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       which saw $130 million collected in that summer. Continuing this pace, the area
       is posed to exceed the 2007 record year by 17 percent (year-to-date).”
   •   “The Pleasure Island communities also saw record-breaking summer retail sales
       figures as $235 million flowed through local cash registers -- a 51 percent ($80
       million) increase over summer 2010 and most importantly, a 7 percent ($16
       million) increase over the benchmark year of 2007.”
   •   “‘We are excited that Alabama's Gulf Coast Beaches were able to re-bound so
       quickly and to set record numbers on top of it,’ said Lee Sentell, director of the
       Alabama Tourism Department. ‘The BP funding allowed us to market effectively
       to travelers and those efforts paid off. We will continue to promote our Gulf Coast
       and hope to continue to set records.’”

Article 8: Debbie Williams, It's Official: Record Breaking Tourism Season on Baldwin
Beaches, WKRG News, October 31, 2011.

   •   “The figures that stand out for tourism officials is summer retail sales. Even with
       sluggish economy retail sales in Gulf Shores, Orange Beach and Fort Morgan
       broke records at 235 million dollars according to numbers provided by Gulf
       Shores and Orange Beach Tourism.”
   •   "‘For the most part we're at record levels or near record levels. July itself was a
       phenomenal month it was at record levels,’ says Herb Malone with Gulf Shores
       and Orange Beach Tourism.”

MISSISSIPPI

Article 1: Rhonda Miller, Tourism on Mississippi Gulf Coast Appears to Be Bouncing
Back After Difficult Years, Mississippi Public Broadcasting, March 23, 2012.

   •   “Tourism on the Mississippi Gulf Coast appears to be bouncing back after years
       of lost revenue from Hurricane Katrina, the BP oil spill and the Mississippi River
       flooding.”
   •   “‘We’ve had three weekends in a row sold out. I expect to be sold out every
       weekend now through October.’ That’s Bob Bennett, owner of the Edgewater
       Inn, just across from the beach in Biloxi.”
   •   “As president of the Mississippi Hotel and Lodging Association, Bennett says
       he’s glad to see golfers, weddings and family reunions coming back to the Gulf
       Coast.”

Article 2: Kaija Wilkinson, Jimmy Buffett's Margaritaville, packed beaches point to Gulf
Coast tourism resurgence, AL.com, May 1, 2012.

   •   "‘Numbers don't lie,’ said Beth Carriere, director of the Mississippi Gulf Coast
       Convention & Visitors Bureau. ‘New major attractions, major investors buying into
       our destination, and new additional activities and attractions coming online

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       through both public and private sector ventures’ are clear signs of recovery, she
       said.”
   •   “Lodging tax revenue increased month to month in January, February and March,
       she said, and in each case was higher than the same months in 2011, she said.
       That's especially encouraging since the lodging industry's typically busy spring
       through summer season has only just begun, she said.”
   •   “A spirit of cooperation among state, local and BP officials has lent itself to what
       Malone describes as a ‘tremendous rebound’ in 2011, he said.”

Article 3: Kara Kimbrough, Gulf Coast continues to be key player in state’s tourism
efforts, Sun Herald, May 21, 2012.
    • “Hurricanes, oil spills and stiff competition from tourist attractions around the
        state haven’t been strong enough to keep the Gulf Coast’s tourism industry
        down, say tourism officials with the Mississippi Development Authority, touting
        strong economic impact figures to back up their claims that area tourism is not
        only back to pre-disaster levels, but shows signs of surpassing previous records.”
    • “‘There have been certain areas that have not fared as well as others but from an
        overall perspective the statewide tourism industry has been holding steady,’
        [Mary Beth] Wilkerson [MDA’s director of tourism] added. ‘This is evidenced by
        the fact that our economic contributions for FY11 increased over figures recorded
        in FY10 and visitors’ expenditures were up 8 percent. Tourism is booming in
        Mississippi and indicators point to a continued increase in this area. The Gulf
        Coast has always and is expected to continue to be a major contributor to the
        sizable economic impact our state experiences from the tourism industry.’”

Article 4: Another View: Rebounding Mississippi coast needs focus and cohesion,
thetowntalk.com, July 12, 2012.

   •   “Special tourism tax collections, an excellent indicator of how the broader tourism
       industry on the Gulf Coast is performing, are larger than before the oil spill. And
       overall sales tax collections for the region are also growing.”
   •   “From April 2011 to April 2012, the tourism industry added 940 jobs, leading
       every other sector of the region's economy.”


NEW ORLEANS

Article 1: AP, New Orleans tourism officials expect strong spring, CBS News, April 4,
2011.

   •   “‘The only way that I can characterize it would be that it's robust. The spring is
       terrific,’ said Stephen Perry, president of the New Orleans Metropolitan
       Convention & Visitors Bureau. ‘You can actually feel it when you're out on the
       street. We've had weekends this year where it's been difficult to find a room.’”

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   •   “The 13 events will generate 185,983 room-nights. That compares with 114,800
       in attendance last year, a more than 18 percent increase in the number of
       convention attendees.”
   •   "‘We're expecting this year's spring to be equally as strong if not up 3 to 5
       percent’ in terms of hotel occupancy, Perry said.”

Article 2: Kelly Schulz, Vice President for Communications and Public Relations for the
New Orleans Convention and Visitors Bureau, April 15, 2011.

   •   Kelly Schulz, Vice President for Communications and Public Relations for the
       New Orleans Convention and Visitors Bureau, observed that “New Orleans’
       tourism industry also ended 2010 as the number one destination in the country
       for year-over-year REVPAR growth, according to Smith Travel.”
   •   “New Orleans welcomed 8.3 million visitors in 2010, a 10.7 percent increase over
       2009, and the first time to reach 8 million visitors since Katrina. Those 8.3 million
       visitors spent $5.3 billion, a $1.1 billion increase over 2009 and the highest
       spending in the city’s history, according to a study by the UNO Hospitality
       Research Center."

Article 3: Jaquetta White, Tourism sector hopes to keep up heat this summer; Strong
Memorial Day stirs optimism, The New Orleans Times-Picayune, June 19, 2011.

   •   “According to data from Smith Travel Research, which surveys hotels, New
       Orleans was one of six cities to record a RevPar increase of more than 20
       percent for the week ending May 28. The local RevPar, or revenue per available
       room, was up 24.7 percent to $96.79 that week as compared with the same week
       a year ago. RevPar is a measure of profitability for hotels.”
   •   "‘There is every expectation that we're going to pick up more summer business,’
       Epton said. ‘The leisure market has been strong. Hoteliers are upbeat about the
       summer this year.’”
   •   “Cooker said the BP grant will supplement the agency's budget, allowing it to
       spend more money to do targeted television advertising on television channels
       watched by the coveted 25- to 34-year-old age group. ‘There is an effort to
       attract somewhat of a younger demographic. That's reflected in the television
       campaign. If there's something different from last year, that's it,’ Cooker said.”

Article 4: Jennifer Duell Popovec, More Good Times Ahead for New Orleans
Hospitality, globest.com, April 25, 2011.

   •  “[Randy] McCaslin,[ vice president and practice leader for PKF Consulting] points
      out that 2010 was a ‘great year’ for New Orleans’ hospitality sector. In
      comparison, however, he expects the next three years to be even better.”
   • “In 2010, New Orleans hotels finished the year with a RevPAR gain of 14.8%--
      significantly better than the national average of 5.5%, according to Colliers PFK
      Hotel Horizons market report for March 2011 to May 2011. This was the result of
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       an increase in occupancy of 12.7% and a 1.9% gain in average daily room rates
       (ADR).”
   •   “Looking towards 2011, New Orleans RevPAR is expected to grow 2.3%.
       Although occupancy is forecast to drop 2.7%--primarily is comparison to last
       year’s huge gains--average room rates are projected to increase 5.1%.”

Article 5: HOTELS Editors, New Orleans market posts top hotel rate increase in June,
HOTELS Magazine, June 22, 2011.

   •   “Hoteliers in New Orleans have seen booked rates spike 27% this month on
       discount online travel agency site Hotwire.com, the biggest year-over-year
       increase in North America. A 4-star guestroom in New Orleans is averaging
       US$108 on Hotwire in June.”

LOUISIANA GULF COAST

Article 1: Kathrine Schmidt, Outlook for tourism brighter this year, The Daily Comet,
June 5, 2011.

   •   “Joan Glover of the Coco Marina in Cocodrie said the weekend went well and
       bookings were looking strong for the rest of the summer, both local visitors and
       those from out of state. ‘It's normal business,’ she said. ‘It's wonderful. We would
       love to be blessed with just a normal year.’”
   •   “‘We have seen in the last couple months an increase in not only calls, but
       overall interest in people actually visiting,’ [said Kelly Gustafson, a spokeswoman
       for the Houma Area Convention and Visitors Bureau] in terms of tourists who
       come in to pick up brochures or other information. The same is true for buses
       and trips from nearby New Orleans, she said. ‘When their tourism is up, our
       tourism is up. Hopefully we're on an upswing right now if we can avoid any future
       disasters.’”

Article 2: Brent St. Germain, Fishing industry is back, The Daily Comet, July 5, 2011.
   • “The trend of easily finding fish continued for the Grand Isle International Tarpon
       Rodeos' trip. After venturing out more than 25 miles, it quickly became apparent
       that the offshore fishing has not missed a beat. We quickly limited out on red
       snapper and also reeled several mangrove snappers and king mackerels.”
   • “After an unexpected summer off, the fish are bigger and ready to be caught.”
   • “The experts were wrong because the Gulf coast's fishing industry and
       ecosystem has found a way to bounce back. After the uncertainty of last
       summer, that's all we can ask for.”

Article 3: Richard Thompson, Louisiana's economic recovery from BP oil spill has
been quicker than expected, The New Orleans Times-Picayune, April 15, 2012.
   • “Some business economists and others say that places like Houma, which touts
       itself as ‘the hub of the bayou region,’ and other nearby communities that rely on
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       the offshore industry have seen a quicker recovery than they had expected, in
       large part due to the hundreds of millions of dollars that BP has doled out in oil
       spill damages since the April 2010 spill.”
   •   “Louisiana's preliminary unemployment rate for February was 7 percent, the
       same as it was this time two years ago, just before the spill, according to the U.S.
       Bureau of Labor Statistics. In the Houma area, including Bayou Cane and
       Thibodaux, the preliminary unemployment rate for February was 5 percent, down
       from 5.8 percent a year ago. That's more than three percentage points lower than
       the U.S. unemployment rate, which posted at 8.3 percent.”
   •   “Meanwhile, personal income…rose 4.8 percent in Louisiana to $176.5 billion in
       2011, the U.S. Bureau of Economic Analysis said last month. And the number of
       jobs related to the petroleum industry grew by 3,900 in 2011, according to the
       Louisiana Workforce Commission.”

Article 4: Lauren Wilson, Tourists return to Grand Isle, KATC, July 4, 2011.
   • “The Courier reported on Sunday that it was like old times with beaches open
       and oil free, and fishermen cleaning big catches. Businesses that had closed
       because of the spill last year, or had seen their profits plummet, were eager to
       welcome visitors back.”
   • “‘The fish are back. It’s on now’ he said [Gil Hildebrand] on Thursday, ‘It’s like it
       was in the past.’”




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